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                                                                    2022 May-31 PM 12:19
                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA




           EXHIBIT C
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Lanitra Jeter                                                                                   12/10/2021
                                                 Page 1                                                 Page 3
            IN THE UNITED STATES DISTRICT COURT            1                APPEARANCES
            FOR THE NORTHERN DISTRICT OF ALABAMA           2
                 SOUTHERN DIVISION                         3      FOR THE PLAINTIFF:
                                                           4        Mr. Brian O. Noble
      CASE NO.: 2:20-CV-01863-ACA                          5        Attorney at Law
                                                           6        Capstone Law
      LANITRA JETER,                                       7        2119 3rd Avenue North, Suite 202
              Plaintiff,                                   8        Birmingham, Alabama 35203
      vs.                                                  9
      DANNY CARR, in his official                         10      FOR THE DEFENDANT:
      capacity as District Attorney                       11        Mr. Robert R. Riley, Jr.
      of Jefferson County,                                12        Mr. James Edward Murrill, Jr.
              Defendant.                                  13        Attorneys at Law
                                                          14        Riley & Jackson, P.C.
                   DEPOSITION                             15        3530 Independence Drive
                      OF                                  16        Birmingham, Alabama 35209
                  LANITRA JETER                           17
                DECEMBER 10, 2021                         18
                                                          19
                                                          20
      TAKEN BY: Maya Rose                                 21
              Registered Professional Reporter            22
              and Notary Public                           23

                                                 Page 2                                                 Page 4
  1           STIPULATIONS                                 1             INDEX
  2      IT IS STIPULATED AND AGREED, by and               2
  3   between the parties, through their respective        3                   PAGE
  4   counsel, that the deposition of LANITRA JETER        4   EXAMINATION BY MR. MURRILL:................6
  5   may be taken before MAYA ROSE, Commissioner,         5   EXAMINATION BY MR. NOBLE:................149
  6   Court Reporter and Notary Public, State at           6   REEXAMINATION BY MR. MURRILL:............223
  7   Large;                                               7
  8      That the signature to and the reading of          8            EXHIBITS
  9   the deposition by the witness is NOT waived,         9   PLAINTIFF'S NO.                  PAGE
 10   the deposition to have the same force and           10   Exhibit 1 - various documents     -147
 11   effect as if full compliance had been had with      11
 12   all laws and rules of Court relating to the         12   DEFENDANT'S NO.                       PAGE
 13   taking of depositions;                              13   Exhibit 1 - Response to Interrogatories -14
 14      That it shall not be necessary for any           14     and Request for Production of Documents
 15   objections to be made by counsel to any             15   Exhibit 2 - Notice of Depo and Production-19
 16   questions, except as to form or leading             16     Request
 17   questions, and that counsel for the parties         17   Exhibit 3 - March 20, 2020 fax        -46
 18   may make objections and assign grounds at the       18   Exhibit 4 - March 16, 2020 letter     -87
 19   time of trial, or at the time said deposition       19
 20   is offered in evidence, or prior thereto;           20
 21      That the notice of filing of the                 21
 22   deposition by the Commissioner is waived.           22
 23                                                       23



                                                                                 1 (Pages 1 to 4)
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Lanitra Jeter                                                                            12/10/2021
                                            Page 5                                              Page 7
  1         I, Maya Rose, a Registered                  1   question that calls for a yes or a no answer,
  2   Professional Reporter of Birmingham, Alabama,     2   if you could please say yes or no instead of
  3   and a Notary Public for the State of Alabama      3   uh-huh or huh-uh, that will make for a
  4   at Large, acting as Commissioner, certify that    4   confusing record when we go back to read it.
  5   on this date, pursuant to the Federal Rules of    5   Can you do that for me?
  6   Civil Procedure and the foregoing stipulations    6       A. Yes.
  7   of counsel, there came before me at 3530          7       Q. Okay. I want to make your job
  8   Independence Drive, Birmingham, Alabama, on       8   easier today, so if at any point you need to
  9   the 10th day of December, 2021, commencing at     9   take a break, get some water, get soft drinks
 10   9:36 a.m. and concluding at 3:07 p.m., LANITRA   10   or that great coffee I talked about earlier,
 11   JETER, witness in the above cause, for oral      11   just let me know and I'm happy to accommodate
 12   examination, whereupon the following             12   you; okay?
 13   proceedings were had and done:                   13       A. Okay.
 14                                                    14       Q. I see that you've injured your
 15              LANITRA JETER,                        15   arm. Is your arm in any way going to affect
 16   being first duly sworn, was examined and         16   your ability to sit for a deposition or impact
 17   testified as follows:                            17   your ability to sit for prolonged periods of
 18                                                    18   time?
 19         THE REPORTER: Usual stipulations?          19       A. It should not, no.
 20         MR. MURRILL: Fine with me.                 20       Q. Okay. Great. Another thing we
 21         MR. NOBLE: We'll read and sign.            21   can do to make jobs easier is if I ask you a
 22   Otherwise that's good with us.                   22   question and you don't understand the
 23                                                    23   question, please let me know and I'll try to


                                            Page 6                                              Page 8
  1   EXAMINATION BY MR. MURRILL:                       1   ask it in a way that you do understand; okay?
  2       Q. Good morning, Ms. Jeter.                   2        A. Yes.
  3       A. Good morning.                              3        Q. All right. If I ask you a
  4       Q. I'm Jay Murrill. You and I met             4   question and you answer the question, I'll
  5   briefly before we began this morning. Have        5   assume you understood it; is that fair?
  6   you ever given a deposition before?               6        A. Yes.
  7       A. No, sir.                                   7        Q. Okay. And to make my job easier
  8       Q. All right. The rules are pretty            8   today, I may use a few shorthand phrases. If
  9   simple and everybody's got a job to do in a       9   I say DA's office, I'm talking about the
 10   deposition. My job is to ask questions. Your     10   Jefferson County DA's office; okay?
 11   job is to answer the questions. And Maya, our    11        A. Okay.
 12   court reporter's job to is take down             12        Q. And if I say VSO, I'm talking
 13   everything you and I and all the lawyers in      13   about a victim service officer; okay?
 14   the room say. So we can do some things to        14        A. Okay.
 15   make everybody's job a little easier today.      15        Q. Perfect. Would you give me your
 16   We can make Maya's job easier by not talking     16   full name, please?
 17   over one another. So if I ask you a question,    17        A. LaNitra Faye Jeter.
 18   if you'd wait until I finish asking it before    18        Q. And where do you live, Ms. Jeter?
 19   answering so we're not speaking over one         19        A. The complete address?
 20   another, can you do that for me?                 20        Q. Yes, please.
 21       A. Yes.                                      21        A.                        .
 22       Q. Okay. And you just did something          22        Q. How long have you lived there?
 23   that I'm happy you did. If I ask you a           23        A. Since 2004.


                                                                           2 (Pages 5 to 8)
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  1       Q. Who lives with you?                    1       Q. How old is             ?
  2       A. My husband.                            2       A. Ten.
  3       Q. What is his name?                      3       Q. And how old is          ?
  4       A. Kireem Jeter.                          4       A. Fifteen.
  5       Q. How do you spell Kireem?               5       Q. Who are                        's
  6       A. K-i-r-e-e-m. Middle name Jacquez,      6   mother?
  7   J-a-c-q-u-e-z.                                7       A.           's mother is deceased.
  8       Q. How long have you and Mr. Jeter        8       Q. Okay.
  9   been married?                                 9       A. Her name is Angelica Jones.
 10       A. About nine years.                     10       Q. How about          ?
 11       Q. Have you ever been married to         11       A. Her mother is Marquetta Murrell.
 12   anyone other than Mr. Jeter?                 12       Q. Is that M-u-r-r-e-l-l?
 13       A. Yes.                                  13       A. Yes.
 14       Q. How many other times have you been    14       Q. All right. Do you have any other
 15   married?                                     15   stepchildren?
 16       A. Once.                                 16       A. Yes.
 17       Q. What is your former husband's         17       Q. How many?
 18   name?                                        18       A. I think eleven.
 19       A. Michael McKinney, Sr.                 19       Q. Eleven? I'll tell you what. We
 20       Q. And when were you and Mr. McKinney    20   can spend the next hour going through that.
 21   married?                                     21   If you would give those names to your lawyer,
 22       A. 1998, I believe.                      22   he can give them to me; is that fair with you?
 23       Q. And when did that marriage end?       23       A. Yes.

                                      Page 10                                              Page 12
  1      A. If I can recall, it is I think          1       Q. Okay. I just need their names and
  2   maybe 2000. Don't quote me on that though.    2   their ages and where they live, please.
  3      Q. Did you and Mr. McKinney get a          3       A. Okay.
  4   divorce?                                      4       Q. Thanks. Do you have any relatives
  5      A. Yes.                                    5   by blood or marriage that live in Blount,
  6      Q. Do you have any children?               6   Shelby or Jefferson County?
  7      A. Yes.                                    7       A. Yes, I believe in Jefferson.
  8      Q. How many?                               8       Q. Do you have a lot of them?
  9      A. I have one biological son.              9       A. My mother, my father, aunts,
 10      Q. What is his name and age?              10   uncles, cousins, so, yeah.
 11      A. Michael McKinney, Jr.,                 11       Q. Okay. We could spend the next
 12   twenty-seven.                                12   thirty minutes going through that. So if you
 13      Q. Where does Michael live?               13   would give your lawyer those names and their
 14      A. Stone Mountain, Georgia.               14   addresses, please.
 15      Q. Do you have any children by either     15       A. Okay.
 16   adoption or stepchildren?                    16       Q. Thank you. Do you belong to any
 17      A. Yes, I do.                             17   clubs? Do you belong to any clubs?
 18      Q. How many?                              18       A. Yes, I'm a member of Tau Beta
 19      A. In the household or altogether?        19   Sigma.
 20      Q. Let's start with the household.        20       Q. What is that?
 21      A. Okay. Within the household it's        21       A. It is a band sorority for -- it's
 22   going to be two.                             22   a band sorority for HBCUs.
                                                   23       Q. Any other clubs?


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Lanitra Jeter                                                                         12/10/2021
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  1       A. No.                                      1        A. At this present moment as I can
  2       Q. Where did you go to college?             2   recall, yes.
  3       A. Originally I went to Alabama State       3        Q. Okay. And were you working at
  4   University and then Faulkner University.        4   Birmingham Family Counseling and Remediation
  5       Q. Okay. Did you graduate from              5   Center at the same time you were working for
  6   Faulkner?                                       6   the DA's office?
  7       A. Yes.                                     7        A. Yes.
  8       Q. Are you a member of any other            8        Q. Okay. Did you have any other side
  9   organizations?                                  9   jobs when you worked at the DA's office?
 10       A. No.                                     10        A. No.
 11       Q. Do you belong to a church?              11        Q. Have you worked anywhere since you
 12       A. No, not at the moment, no.              12   left the DA's office?
 13       Q. What's the highest level of             13        A. Yes.
 14   education you've completed?                    14        Q. Where did you work?
 15       A. Two master's.                           15        A. Central Alabama Wellness.
 16       Q. What are those in?                      16        Q. When did you work there?
 17       A. Counseling and justice                  17        A. August 31st of '20 until March of
 18   administration.                                18   '21.
 19       Q. Did you receive both of those at        19        Q. What was your job there?
 20   the same university?                           20        A. Substance abuse therapist.
 21       A. Yes.                                    21        Q. And why did you leave that job?
 22       Q. What university?                        22        A. My diabetes.
 23       A. Faulkner University.                    23        Q. Have you worked anywhere since


                                        Page 14                                             Page 16
  1       Q. When did you receive those               1   Central Alabama Wellness?
  2   master's?                                       2        A. Yes, I'm still at the Birmingham
  3       A. One was in 2015, I believe, and          3   Family Counseling and Mediation.
  4   the other is in 2017.                           4        Q. Are you currently involved in
  5       Q. Which was in 2015?                       5   litigation against Central Alabama Wellness?
  6       A. '15 was the counseling.                  6        A. Yes.
  7       Q. And justice administration was in        7        Q. Okay. And you're also involved in
  8   '17?                                            8   this litigation. Have you ever been a
  9       A. Yes.                                     9   plaintiff or a defendant in any other
 10       Q. Okay. Let me show you a document        10   litigation besides this one and your current
 11   I'm going to mark as Exhibit 1 to your         11   one against Central Alabama Wellness?
 12   deposition.                                    12            MR. NOBLE: Object to the form.
 13          (Whereupon, Defendant's                 13   You can answer.
 14          Exhibit 1 was marked                    14        A. At this present moment, I don't
 15           for identification.)                   15   recall, no.
 16       Q. (BY MR. MURRILL:) These are your        16        Q. (BY MR. MURRILL:) Have you ever
 17   interrogatories in this case. If you'll turn   17   filed for bankruptcy?
 18   to page 3 of Exhibit 1.                        18        A. Yes.
 19       A. (Reviewing document.)                   19        Q. When did you file for bankruptcy?
 20       Q. All right. You have Exhibit 1 in        20        A. 2015, I believe.
 21   front of you, and on page 3 it lists some      21        Q. Is that case still ongoing or has
 22   employers. Is that a complete list of          22   it been resolved?
 23   employers that you've had since 2000?          23        A. It's ongoing.


                                                                     4 (Pages 13 to 16)
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Lanitra Jeter                                                                         12/10/2021
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  1       Q. Is that taking place here in            1   to mark as Exhibit 2 to your deposition.
  2   Birmingham?                                    2          (Whereupon, Defendant's
  3       A. Yes.                                    3          Exhibit 2 was marked
  4       Q. Okay. You filed an EEOC charge          4           for identification.)
  5   against the DA's office; correct?              5       Q. Exhibit 2 is the Notice of
  6       A. Yes.                                    6   Deposition and production request for you.
  7       Q. You filed an EEOC charge against        7   Could you turn to page 2 of Exhibit 2? Thank
  8   Central Alabama Wellness; correct?             8   you. Page 2 asked for you to bring some
  9       A. Yes.                                    9   recordings. Did you bring any recordings with
 10       Q. Have you ever filed an EEOC charge     10   you?
 11   against any other employer?                   11       A. No.
 12       A. Yes.                                   12       Q. Okay. Do you have or have you
 13       Q. Okay. Which employer?                  13   ever had any recordings of Danny Carr?
 14       A. I don't recall.                        14       A. No.
 15       Q. Is it one of the employers listed      15       Q. Do you have or have you ever had
 16   on page 3 of Exhibit 1?                       16   any recordings of Joe Roberts?
 17       A. At this moment, I really don't         17       A. No.
 18   know or remember which employer it is.        18       Q. Do you have or have you ever had
 19       Q. Do you believe it's an employer        19   any recordings of Michael McCurry?
 20   before 2000?                                  20       A. No.
 21       A. No.                                    21       Q. Do you have or have you ever had
 22       Q. Okay. So, to the best of your          22   any recordings of Judy Yates?
 23   knowledge, it would be one of the employers   23       A. No.

                                      Page 18                                              Page 20
  1   listed on page 3 of Exhibit 1?                 1       Q. Do you have or have you ever had
  2        A. Yes.                                   2   any recordings of anyone who worked at the
  3        Q. Other than the DA's office and         3   DA's office?
  4   Central Alabama Wellness?                      4          MR. NOBLE: Object to the form.
  5        A. Yes.                                   5   You can answer.
  6        Q. Okay. How many other EEOC charges      6       A. No.
  7   have you filed?                                7       Q. (BY MR. MURRILL:) Okay. Go back
  8        A. I'm not sure.                          8   to Exhibit 1, please, your interrogatory
  9        Q. Do you believe it's more than one?     9   responses. If you'll turn to the last page of
 10        A. As I can recall, I think yes.         10   Exhibit 1, is that your signature on the last
 11        Q. Okay. Do you believe it's more        11   page of Exhibit 1?
 12   than five?                                    12       A. Yes.
 13        A. No.                                   13       Q. Okay. Did you sign the
 14        Q. So somewhere between one and          14   interrogatory responses after reviewing the
 15   five --                                       15   answers to the interrogatories?
 16        A. Yes.                                  16       A. Yes.
 17        Q. -- or I guess somewhere between       17       Q. Okay. Were the answers true and
 18   two and five?                                 18   accurate when you signed?
 19        A. Yes.                                  19       A. Yes.
 20        Q. Did any of those EEOC charges         20       Q. Okay. Take a few minutes and the
 21   result in litigation?                         21   interrogatory responses are at the beginning
 22        A. No.                                   22   of Exhibit 1. Review those. You don't have
 23        Q. I'll show you a document I'm going    23   to read them out loud. But I want to ask you


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  1   if those responses are still true and accurate    1   support, helping them fill out paperwork while
  2   today?                                            2   signing in for grand jury.
  3        A. (Reviewing document.) In this             3       Q. Did you have any duties regarding
  4   present moment, yes, all of these answers to      4   non-grand jury court proceedings?
  5   my knowledge are true.                            5       A. No.
  6        Q. Okay. When did you start at the           6       Q. So did you only work on grand jury
  7   DA's office?                                      7   court proceedings?
  8        A. April 2019.                               8       A. No. We worked on -- I worked on
  9        Q. And were you hired to work for the        9   whatever trial I was assigned to for that
 10   DA's office for any specific period of time?     10   victim. My main focus was on property claims
 11        A. No.                                      11   and some DV cases.
 12        Q. And you worked as a VSO; correct?        12       Q. What is DV?
 13        A. Yes.                                     13       A. Domestic violence.
 14        Q. Did you ever have any other              14       Q. Were you the only VSO that handled
 15   position with the DA's office?                   15   property crime cases?
 16        A. No.                                      16       A. Yes.
 17        Q. How many other VSOs worked at the        17       Q. Were you the only one that handled
 18   DA's office while you were there?                18   DV cases?
 19        A. Four other white VSO officers            19       A. No.
 20   worked there.                                    20       Q. Did you have any job duties
 21        Q. So the four and you, there were a        21   regarding police departments?
 22   total of five VSO officers --                    22       A. Not particularly duties. If a
 23        A. Yes.                                     23   police officer needed assistance with the

                                         Page 22                                               Page 24
  1       Q. -- or VSOs? Excuse me. And what            1   victim, depended on what the victim needed, we
  2   were your job duties as a VSO?                    2   would assist then.
  3       A. To my knowledge, advocate for              3       Q. How often day-to-day would you
  4   victims, send out packages referring to the       4   interact with victims?
  5   crime of the perpetrator to the victim, assist    5       A. Some days it would be no victims
  6   victims in any way possible during the process    6   at all. Some days we would have maybe two to
  7   of the trial, assist the attorneys with cases,    7   three, but I don't think it was ever over
  8   remain in contact with victims when needed.       8   three.
  9   And any additional instruction given by upper     9       Q. Did you have a particular number
 10   management.                                      10   of cases you were assigned?
 11       Q. Did you have any duties regarding         11       A. No.
 12   grand jury proceedings?                          12       Q. Could the number of cases you were
 13       A. Yes.                                      13   assigned fluctuate?
 14       Q. What were those duties?                   14       A. Yes.
 15       A. To help the victims any way               15       Q. Okay. You told me you were the
 16   possible during that process of grand jury.      16   only VSO that handled property crime cases;
 17       Q. What would be an example of               17   correct?
 18   helping a victim in the grand jury process?      18       A. Yes.
 19       A. Helping a victim with anything            19       Q. Did you have any other job duties
 20   they particularly needed in a situation. Each    20   where you were the only VSO that did those
 21   situation could be different. It could be        21   duties?
 22   watching their child if they brought their       22       A. There were other cases that I
 23   child with them, giving them emotional           23   handled. I cannot remember them right now.


                                                                       6 (Pages 21 to 24)
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  1   It was actually written down on a piece of        1   officers, the supply staff. That's all I can
  2   paper I had in my office, but it was not          2   recall right now.
  3   returned to me.                                   3       Q. What would be an example of an
  4       Q. Okay. And you were the only VSO            4   administrative staff?
  5   assigned to those particular cases?               5       A. Receptionist. That's it.
  6       A. Yes, sir.                                  6       Q. And what would be an example of a
  7       Q. Okay. Did other VSOs have job              7   supply staff?
  8   duties that you did not have?                     8       A. That would be staff that was over
  9       A. Other VSOs were assigned                   9   the materials we would need, different
 10   particular cases as well. We had all             10   materials like folders, pamphlets, things like
 11   different cases that we would handle, so, yes.   11   that for our cases.
 12       Q. Okay. Other than handling a               12       Q. Did supply staff individuals have
 13   specific case, did any other VSO have a job      13   a certain job title?
 14   duty that you did not have?                      14       A. Not that I recall. I don't know.
 15       A. I don't understand the question.          15       Q. Judy Yates was your immediate
 16       Q. Sure. It was probably a lousy             16   supervisor; correct?
 17   question. Each VSO had a case that she was       17       A. Yes.
 18   assigned; is that correct?                       18       Q. Was she your immediate supervisor
 19       A. No. Each VSO had a type of case           19   the entire time you were with the DA's office?
 20   they were assigned. So one VSO could just be     20       A. Yes.
 21   assigned domestic violence. One VSO could be     21       Q. How much day-to-day interaction
 22   assigned murder cases. So that was separated     22   would you have with Judy?
 23   through categories.                              23       A. It's hard to answer that question.

                                         Page 26                                               Page 28
  1        Q. Okay. Other than being on                 1   It depends on the day, what was happening that
  2   different cases or being assigned different       2   day. Some days we didn't have absolutely
  3   cases, was there a VSO that did certain           3   anything to do. If there was no trial, no
  4   things, certain job duties that you did not       4   court going on, no victims coming in, then
  5   have to do?                                       5   there was zero interaction. Some days,
  6        A. No.                                       6   depending on what the trial is, like if it was
  7        Q. Okay. I think you mentioned               7   a murder trial or a high profile case, then,
  8   working with attorneys. Were those attorneys      8   you know, we would interact probably maybe
  9   at the DA's office?                               9   twenty percent of that day.
 10        A. Yes.                                     10          As my time at the office
 11        Q. Okay. Did you work with specific         11   progressed and certain things were happening
 12   attorneys?                                       12   to me, I tried to limit my interaction with
 13        A. No.                                      13   several people in the office, so I just stayed
 14        Q. Would that depend on whatever case       14   in my office.
 15   you were assigned?                               15       Q. Would limiting your interaction
 16        A. Yes.                                     16   with people include limiting your interaction
 17        Q. Did you work with any other              17   with Judy?
 18   specific staff at the DA's office other than     18       A. Yes.
 19   attorneys?                                       19       Q. Did you ever socialize with Judy
 20        A. Yes.                                     20   outside of work?
 21        Q. What staff did you work with             21       A. No.
 22   besides attorneys?                               22       Q. Are you aware of Judy Yates ever
 23        A. Administrative staff, police             23   making any derogatory comments about black


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Lanitra Jeter                                                                            12/10/2021
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  1   people?                                           1   people?
  2       A. In my presence, no.                        2       A. In this moment, no.
  3       Q. Are you aware of her making any            3       Q. Joe Roberts was the deputy
  4   comments derogatory about black people outside    4   district attorney; correct?
  5   of your presence?                                 5       A. Yes.
  6       A. In this moment, no.                        6       Q. So if Joe Roberts was your next
  7       Q. Are you aware of Judy Yates ever           7   level supervisor above Judy, would your next
  8   making any comments about preferring white        8   level supervisor above Joe be Danny Carr?
  9   people?                                           9       A. Yes.
 10       A. Not in this moment, no.                   10       Q. And Danny Carr was the district
 11       Q. Was Joe Roberts your next level           11   attorney; correct?
 12   supervisor above Judy?                           12       A. Yes.
 13       A. I'm not really sure. I wasn't             13       Q. And he was the district attorney
 14   sure if it was Joe Roberts or Michael McCurry,   14   the entire time you were with the DA's office?
 15   so I'm really not sure.                          15       A. Yes.
 16       Q. Okay. Assume with me that it's            16       Q. How much day-to-day interaction
 17   Joe Roberts.                                     17   did you have with Danny?
 18       A. Okay.                                     18       A. Zero.
 19       Q. How much day-to-day interaction           19       Q. Did you ever discuss work matters
 20   did you have with Joe Roberts?                   20   with Danny?
 21       A. Day-to-day would be zero,                 21       A. Yes.
 22   depending on the day.                            22       Q. How many times did you discuss
 23       Q. How often would you discuss work          23   work matters with Danny?

                                         Page 30                                               Page 32
  1   matters with Joe Roberts?                         1       A. Once.
  2       A. Every day would be zero. If I had          2       Q. Okay. What was that?
  3   an issue, I would request to meet with him. I     3       A. I don't understand the question.
  4   think I met with him during my time of            4       Q. What was that one time you
  5   employment possibly no more than three times.     5   discussed work matters with Danny?
  6       Q. What did you meet with him about           6       A. The time or what we talked about?
  7   on those three occasions?                         7       Q. Let's go with the time first.
  8       A. One, I met with him when they no           8       A. Okay. As I can recall, I think it
  9   billed the grand jury case for my husband.        9   was 2019. That was the only time.
 10   And the other two possibilities, I can't         10       Q. And what did you discuss with
 11   remember at this moment.                         11   Danny in 2019 on that one occasion?
 12       Q. Do you remember when they no              12       A. I discussed the unfair treatment I
 13   billed your husband's case?                      13   was receiving in the office, the
 14       A. I do not.                                 14   discrimination I was receiving with my comp
 15       Q. Do you remember whether it was in         15   time being taken away, the unwanted phone
 16   2019 or 2020?                                    16   calls I was receiving and my husband was
 17       A. I do not.                                 17   receiving. We talked about the cases that
 18       Q. Are you aware of Joe Roberts ever         18   involved myself and my husband.
 19   making any derogatory comments about black       19       Q. And where did this -- oh, sorry.
 20   people?                                          20   Go ahead.
 21       A. Not to my knowledge, no.                  21       A. Also I was -- we talked about the
 22       Q. Are you aware of Joe Roberts ever         22   allegations or rumors of us having a
 23   making any comments about preferring white       23   relationship.


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  1       Q. Who is the "us"?                          1   regarding Marquetta Murrell.
  2       A. Oh, myself and Danny Carr.                2       Q. Did Danny ask you to drop the
  3       Q. Did you discuss anything else with        3   cases?
  4   Danny Carr?                                      4       A. I assumed.
  5       A. Not that I can remember right now,        5       Q. But did he ever say, I want you to
  6   no.                                              6   drop the cases, or words to that effect?
  7       Q. And when did this conversation            7       A. No.
  8   with Danny Carr take place?                      8       Q. Did you and Danny discuss anything
  9       A. 2019.                                     9   else regarding the cases involving Marquetta
 10       Q. When in 2019?                            10   Murrell?
 11       A. At this moment, I can't remember.        11       A. Not that I can remember right now.
 12   It was -- it was requested through an e-mail    12       Q. And for any of those cases, were
 13   through his receptionist, April Smith.          13   you a victim in those cases?
 14       Q. We'll talk about it later, but did       14       A. Yes.
 15   it occur before or after the black rat cutout   15       Q. And what did you and Danny discuss
 16   incident?                                       16   about the allegations or rumors about a
 17       A. I can't remember exactly, so I           17   physical relationship?
 18   can't -- to be honest, I cannot answer that     18       A. He never mentioned it. He just --
 19   question. I'm not sure.                         19   he never responded.
 20       Q. Did it occur before or after you         20       Q. Did you bring that up?
 21   were allowed to start earning comp time again   21       A. In the meeting, yes.
 22   in November of 2019?                            22       Q. Where had you heard those rumors?
 23       A. Before. The meeting was before           23       A. They were actually from the

                                        Page 34                                             Page 36
  1   that.                                            1   unwanted phone calls we were receiving.
  2       Q. All right. And what did you tell          2       Q. Who was making unwanted phone
  3   Danny about unfair treatment in the office?      3   calls?
  4       A. My comp time being taken away.            4       A. We don't know who they were.
  5       Q. What did you tell him?                    5       Q. What were they saying?
  6       A. I was the only black VSO officer          6       A. That me and Danny were walking
  7   in the office and my comp time was taken away    7   outside the building during lunchtime. I was
  8   when no other VSO officers, which were white,    8   spending time in his office, just things of
  9   did not have their comp time taken away.         9   that nature.
 10       Q. What did Danny say about that?           10       Q. Was any of that true?
 11       A. He didn't know anything about it.        11       A. No.
 12       Q. Did you discuss anything else            12       Q. Where were you receiving those
 13   regarding comp time with Danny?                 13   phone calls?
 14       A. No.                                      14       A. On my husband's cell phone.
 15       Q. Okay. What did you discuss about         15       Q. Did you ever hear any of the phone
 16   your husband's cases with Danny?                16   calls?
 17       A. Actually he brought up the cases.        17       A. No.
 18   He had a folder belonging to Marquetta          18       Q. Do you know if it was a male or a
 19   Murrell, who was the defendant in the cases.    19   female making the calls?
 20   He stated that sometimes people don't           20       A. I don't know. He stated -- my
 21   necessarily need to go to court. Things can     21   husband stated it was a female.
 22   be handled outside of court. I took that to     22       Q. How long did your meeting with
 23   say that he was asking me to drop the cases     23   Danny Carr last?


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Lanitra Jeter                                                                           12/10/2021
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  1       A. I don't recall.                            1   given any vacation leave?
  2       Q. Do you think it lasted more than           2       A. I don't understand the question.
  3   an hour?                                          3       Q. You began in April of 2019;
  4       A. No.                                        4   correct?
  5       Q. Do you think it lasted more than           5       A. Yes.
  6   thirty minutes?                                   6       Q. The day you started, were you
  7       A. No.                                        7   given any sort of vacation leave?
  8       Q. Okay. Do you think it lasted more          8       A. No. Not that I can remember, no.
  9   than ten minutes?                                 9       Q. Did you earn vacation leave as you
 10       A. Yes.                                      10   worked?
 11       Q. You think it lasted somewhere             11       A. Yes.
 12   between ten and thirty minutes?                  12       Q. All right. How often did you earn
 13       A. Yes.                                      13   vacation leave?
 14       Q. Was that the only time that you           14       A. If I can recall, it was earned
 15   e-mailed April Smith to request a meeting with   15   every pay period.
 16   Danny?                                           16       Q. How much would you earn per pay
 17       A. Yes.                                      17   period?
 18       Q. Did you ever socialize with Danny         18       A. I don't remember.
 19   Carr outside of work?                            19       Q. Was it a set amount per pay
 20       A. No.                                       20   period?
 21       Q. Okay. Are you aware of Danny Carr         21       A. Yes.
 22   ever making any comments that were derogatory    22       Q. And would your time records show
 23   about black people?                              23   how much vacation leave you earned?

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  1       A. Not to my knowledge, no.                   1        A. The timecard?
  2       Q. Are you aware of Danny Carr ever           2        Q. But would your time records at the
  3   making any comments about preferring white        3   DA's office show how much vacation leave you
  4   people?                                           4   earned?
  5       A. Not to my knowledge, no.                   5        A. Yes.
  6       Q. And Danny Carr is a black man;             6        Q. Okay. And would your time records
  7   correct?                                          7   at the DA's office show the vacation leave
  8       A. Yes.                                       8   that you took?
  9       Q. Were you an hourly employee with           9        A. Yes.
 10   the DA's office?                                 10        Q. When you started in April of 2019,
 11       A. No.                                       11   were you given any sick leave?
 12       Q. You were salaried?                        12        A. I earned it.
 13       A. Yes.                                      13        Q. So you started at zero?
 14       Q. Okay. What was your salary?               14        A. Yes.
 15       A. Forty thousand.                           15        Q. And did that work the same way as
 16       Q. How often were you paid?                  16   vacation leave? Did you earn sick leave per
 17       A. Biweekly.                                 17   pay period?
 18       Q. Every two weeks?                          18        A. Yes.
 19       A. Yes.                                      19        Q. Did you earn a set amount per pay
 20       Q. Was your check always in the same         20   period?
 21   amount?                                          21        A. Yes.
 22       A. Yes.                                      22        Q. Okay. And would your time records
 23       Q. When you started work, were you           23   show the sick leave that you earned?


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  1       A. Yes.                                       1       Q. And would your time records also
  2       Q. And would your time records also           2   show when you left work?
  3   show the sick leave that you used?                3       A. Yes.
  4       A. Yes.                                       4       Q. Would your time records show when
  5       Q. So if you were not earning comp            5   you earned comp time?
  6   time, what were your normal working hours?        6       A. Yes.
  7       A. 7:30 to 4:30.                              7       Q. Would your time records also show
  8       Q. Were there any breaks during that          8   when you used comp time?
  9   time period?                                      9       A. Yes.
 10       A. Yes.                                      10       Q. Did you ever have any other type
 11       Q. How many?                                 11   of leave besides vacation leave, sick leave,
 12       A. Two 15-minute breaks, one-hour            12   and comp time?
 13   lunch and they were combined.                    13       A. I believe we had what is called
 14       Q. So, in total, would it be an              14   PTO, but I think it was actually included in
 15   hour-and-a-half break?                           15   the vacation and sick, if I'm not mistaken.
 16       A. Yes.                                      16   I'm not really sure how that worked.
 17       Q. And did that start and stop at the        17       Q. Okay. Let's say you wanted to be
 18   same time?                                       18   off of work and you had vacation leave
 19       A. I don't understand the question.          19   available, sick leave available and comp time
 20       Q. All right. Would your                     20   available. Let's also assume that PTO is part
 21   hour-and-a-half break begin at a certain         21   of one of those types of leave. Who made the
 22   period of the day and end at a certain period    22   choice on what type of leave you took to cover
 23   of the day?                                      23   the time you were going to be off?

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  1       A. No. We were able to take our own           1       A. Originally it would be the
  2   lunches and make our own times when we took       2   employee, and then it would be approved by the
  3   our lunch and break together.                     3   supervisor.
  4       Q. Okay. So if you wanted to, could           4       Q. And in your case, would it have
  5   your hour-and-a-half break occur at the end of    5   been approved by Judy Yates?
  6   the day?                                          6       A. Yes.
  7       A. With supervisor approval, yes.             7       Q. Okay. I'm going to grab some
  8       Q. So if you're just working normal           8   water.
  9   hours, you would be working eight hours a day     9           MR. RILEY: Y'all want to take a
 10   and forty hours a week; correct?                 10   break?
 11       A. Yes.                                      11           MR. NOBLE: Yeah, I appreciate it.
 12       Q. Now, what is comp time?                   12           (Whereupon, a short break was
 13       A. Compensatory time is any time that        13            taken.)
 14   you work extra over the forty hours.             14       Q. (BY MR. MURRILL:) Ms. Jeter,
 15       Q. And are you given a certain amount        15   before the break you were telling me about an
 16   of comp time for every hour you work over        16   e-mail you had sent to April Smith to request
 17   forty hours?                                     17   a meeting with Danny Carr; do you recall that?
 18       A. Yes.                                      18       A. Yes.
 19       Q. And what is that?                         19       Q. Do you have a copy of that e-mail?
 20       A. I don't remember.                         20       A. I do not have a copy of that
 21       Q. Would your time records show when         21   e-mail. April would actually have that copy.
 22   you got to work?                                 22       Q. Let's go to Exhibit 1. If you'd
 23       A. Time card clock-in, yes.                  23   turn to page 4, please. On page 4,


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  1   interrogatory 6, it asked for the                 1            for identification.)
  2   discrimination and there's some bullet points     2        Q. Is Exhibit 3 the fax you sent to
  3   under the answer. And what I'd like to do is      3   the EEOC in March of 2020?
  4   kind of use those bullet points to guide our      4        A. Yes.
  5   conversation; okay?                               5        Q. Okay. If you would go to the
  6       A. Okay.                                      6   second paragraph of page 2 of Exhibit 3, is
  7       Q. The first bullet point says, comp          7   that talking about when your comp time was
  8   time taken away while Caucasian victim service    8   taken away?
  9   officers retained their comp time. My comp        9        A. (Reviewing document.) Yes.
 10   time was taken away by Judy Yates and Michael    10        Q. Okay. Let's talk about the time
 11   McCurry. And even when I had comp time, I was    11   before September 23rd, 2019; okay? So until I
 12   under different rules compared to my Caucasian   12   tell you otherwise, all the questions I'm
 13   counterparts. Did I read that correctly?         13   going to be asking relate to the time period
 14       A. Yes.                                      14   from when you started until September 23rd of
 15       Q. Okay. What do you mean by "taken          15   2019; okay?
 16   away"?                                           16        A. Okay.
 17       A. I was no longer given                     17        Q. You started in April of 2019;
 18   authorization to accrue comp time.               18   correct?
 19       Q. And when did that occur?                  19        A. Yes.
 20       A. September 23rd, 2019.                     20        Q. All right. When did you first
 21       Q. What do you mean by "different            21   start earning comp time?
 22   rules"?                                          22        A. I do not know.
 23       A. My comp time was taken away from          23        Q. Did anyone -- go ahead.

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  1   me while the other white VSO officers were        1       A. I do know I wasn't even aware that
  2   allowed to accrue comp time and use their comp    2   we could accrue comp time at that moment until
  3   time however they wanted to use it, whenever      3   I was informed by another VSO officer who was
  4   they wanted to use it, which meant going to       4   already accruing time -- comp time before I
  5   get their hair done, leaving work early           5   was.
  6   because they didn't want to drive at night,       6       Q. Who is the VSO officer?
  7   handling family issues and business, leaving      7       A. Elise Driskill and Erin Barefield.
  8   to handle personal issues whereas I had to        8       Q. So what did you do after talking
  9   only use comp time when it was authorized by      9   to Elise and Erin?
 10   Judy Yates and I was only allowed to accrue      10       A. I can't remember in that moment.
 11   comp time when it was approved by Judy Yates.    11   I do know I either -- well, I know I started
 12       Q. Were you under any other different        12   accruing comp time because I asked about it,
 13   rules?                                           13   but I cannot remember who I spoke with or who
 14       A. As far as comp time, no.                  14   I asked about it.
 15       Q. When were you under the different         15       Q. Okay. Do you think you spoke with
 16   rules?                                           16   Judy?
 17       A. From September 23rd, 2019, to             17       A. Possibility, yes.
 18   about the middle or end of November 2019.        18       Q. Do you know if you spoke with
 19       Q. Okay. I'll show you a document            19   Michael McCurry?
 20   I'm going to mark as Exhibit 3 to your           20       A. Possibly not, no.
 21   deposition.                                      21       Q. Before September 23rd, did you
 22          (Whereupon, Defendant's                   22   have to get anyone's permission to earn comp
 23          Exhibit 3 was marked                      23   time as you were earning it?


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  1        A. Technically, yes. Because, again,         1   You can answer.
  2   I was not earning comp time at the same time      2            THE DEPONENT: I can answer?
  3   Erin and Elise were earning comp time. It         3            MR. NOBLE: You can answer.
  4   wasn't until I inquired about it that I was       4        A. I went to work. I was able to get
  5   allowed to, you know, accrue comp time.           5   a doctor's appointment because I was still
  6        Q. Okay. After you started accruing          6   having a lot of medical issues. The doctor
  7   comp time, did you have to ask anyone's           7   said he could fit me in that day because I
  8   permission to keep accruing it?                   8   described to him the issues I was having.
  9        A. No.                                       9            I went to Judy to let her know I
 10        Q. Okay. Before September 23rd if           10   had a doctor's appointment and I needed to
 11   you wanted to use your comp time, what would     11   leave at a certain time. I do not remember
 12   you have to do?                                  12   the time I needed to leave. I was informed
 13        A. I would have to put in a request.        13   that day that I would need to bring a doctor's
 14   That was all.                                    14   excuse. And at that time when she did say
 15        Q. Request with whom?                       15   that to me, it -- she was really -- like
 16        A. Judy Yates.                              16   really nasty toward me in the way she was
 17        Q. Would it be a written request?           17   speaking to me. And I just told her, okay,
 18        A. Some would be written. Some would        18   I'll bring the doctor's excuse back because I
 19   be verbal. Some could possibly be in a text      19   needed to get back -- I needed to get to the
 20   if I had to call in sick.                        20   doctor.
 21        Q. Would your request say why you           21        Q. (BY MR. MURRILL:) Did you have
 22   wanted to use your comp time?                    22   this conversation with Judy in person?
 23        A. Not all.                                 23        A. Yes.

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  1        Q. Would some say why you wanted to          1       Q. Was anyone else present?
  2   use your comp time?                               2       A. No.
  3        A. Yes.                                      3       Q. What time that day did you have
  4        Q. How far in advance of using your          4   the conversation with Judy?
  5   comp time would you make those requests?          5       A. Early that morning.
  6        A. It varied depending on the                6       Q. Was it before work?
  7   situation and what's the reason for using the     7       A. No.
  8   comp time. If it was a doctor's excuse, they      8       Q. Okay. What time was your doctor's
  9   would get maybe a couple of days, depending on    9   appointment that day?
 10   if I had to get an emergency or a call-in        10       A. I don't remember what time it was
 11   appointment. If I had to call in sick, it        11   that day.
 12   would be the day of that morning before work     12       Q. Was it going to be before 4:30?
 13   starts.                                          13       A. Yes.
 14        Q. If you were calling in sick, would       14       Q. Did you have any comp time you had
 15   Judy then make the decision whether you were     15   earned but not used as of September 23rd?
 16   going to use comp time or sick time to --        16       A. Yes.
 17        A. No.                                      17       Q. How much time did you have that
 18        Q. -- cover?                                18   you had earned but not used?
 19        A. I'm sorry. Not at that moment,           19       A. I don't know.
 20   no.                                              20       Q. Was it enough time to cover the
 21        Q. So tell me what happened on              21   doctor's appointment?
 22   September 23rd.                                  22       A. Yes.
 23           MR. NOBLE: Object to the form.           23       Q. Did you use comp time to cover the


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  1   doctor's appointment?                             1   Monique Pierre-Louis, Denise Courier, and
  2       A. Yes.                                       2   possibly some more people. I just can't
  3       Q. And Judy asked you to bring a              3   recall right now.
  4   doctor's excuse back?                             4       Q. Did you complain to anyone in the
  5       A. Yes.                                       5   office other than the two VSOs you identified
  6       Q. Did you bring the doctor's excuse          6   and the receptionist?
  7   back?                                             7       A. Possibly. I just can't recall who
  8       A. Yes.                                       8   at this moment.
  9       Q. Did she ever ask you for a                 9       Q. Did you complain to Judy Yates?
 10   doctor's excuse on any other occasion?           10       A. Yes, because I had the meeting
 11       A. I can't recall.                           11   with her and Michael McCurry complaining about
 12       Q. But the only time you can recall          12   my comp time being taken away.
 13   is her doing so on September 23rd, 2019;         13       Q. Okay. Between September 23rd and
 14   correct?                                         14   the meeting --
 15       A. Yes.                                      15       A. Okay. So you mean prior to the
 16       Q. The third paragraph of Exhibit 3          16   meeting?
 17   talks about a meeting you had with Judy Yates    17       Q. Yes.
 18   and Michael McCurry. Do you recall that          18       A. Well, yes, because in -- on
 19   meeting?                                         19   September 23rd when it was taken away, I was
 20       A. Yes.                                      20   complaining to Judy then because I was asking
 21       Q. When did that meeting take place?         21   for a reason why and asking why it was being
 22       A. (Reviewing document.) If I can            22   taken away and why I was the only one having
 23   remember correctly in this moment, the meeting   23   it being taken away.


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  1   was about -- in October of 2019.                  1       Q. Okay. Did you complain to Judy at
  2       Q. Okay. So the meeting referenced            2   any other time between September 23rd and
  3   in paragraph 3 of Exhibit 3, to the best of       3   prior to the meeting with Judy and Michael
  4   your recollection, took place in October of       4   McCurry?
  5   2019?                                             5       A. Not to my knowledge, no.
  6       A. In this moment, I believe it's             6       Q. Did you complain to Michael
  7   going to be between September 2019 and October    7   McCurry between September 23rd and prior to
  8   2019.                                             8   the meeting with Judy and Michael McCurry?
  9       Q. Okay. Between September 23rd,              9       A. Not that I can recall, no.
 10   2019, when Judy Yates told you about not         10       Q. Did you complain to Danny Carr
 11   accruing any comp time, and the meeting with     11   between September 23rd and prior to the
 12   Michael and Judy, between those two events,      12   meeting with Judy and Michael McCurry?
 13   did you complain to anyone about not being       13       A. No.
 14   able to earn comp time?                          14       Q. Did you complain to Joe Roberts
 15       A. Yes, I complained to two other VSO        15   between September 23rd and prior to the
 16   officers that were white, which is Erin and      16   meeting with Michael McCurry and Judy Yates?
 17   Elise. I complained to the receptionist,         17       A. No.
 18   which was Edwina Johnson. And this is within     18       Q. What led to the meeting with
 19   the office or outside the office?                19   Michael and Judy Yates?
 20       Q. Either.                                   20       A. I requested the meeting because I
 21       A. Okay. I also talked about it with         21   did not agree with my comp time being taken
 22   my husband -- no, not my husband, my -- a        22   away and it being only me and I'm the only
 23   friend of mine, which is Oddesty Langham.        23   African-American VSO officer in the office.


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  1   And all the other VSO officers who were white     1       Q. Did you just have that one meeting
  2   were still getting to accrue their time to use    2   with Michael McCurry and Judy Yates?
  3   however they wanted to with no stipulations       3       A. In reference to comp time, yes.
  4   and restrictions. I wanted to have a clear        4       Q. How long did the meeting last?
  5   reason as to why it was being taken away.         5       A. I'm not even sure.
  6   And -- well, I just needed -- I wanted an         6       Q. Did it last more than an hour?
  7   explanation and I wanted to kind of tell them     7       A. Possibly not, no.
  8   what was going on with me as far as to why I      8       Q. Do you think it lasted more than
  9   was using my comp time the way I was using it,    9   thirty minutes?
 10   which was dealing with my medical issues.        10       A. It could possibly be.
 11           My husband had some medical issues       11       Q. So do you think it lasted
 12   going on. I needed to have surgery. I was        12   somewhere between thirty minutes and an hour?
 13   sick a lot in the office throughout the day.     13       A. Yes.
 14   I was throwing up throughout the day. I was      14       Q. Was anyone else present for the
 15   having, like, I'll call it flashes throughout    15   meeting other than you, Michael McCurry and
 16   the day. I would have to go into my office       16   Judy Yates?
 17   maybe like twice throughout the day, close my    17       A. No.
 18   door. Because when I had the hot flashes, I      18       Q. Where did the meeting take place?
 19   would be, like, drenched whereas my work         19       A. In Michael McCurry's office.
 20   attire would not be appropriate at that time     20       Q. Are you aware of Michael McCurry
 21   because it would become wet and I didn't like    21   ever making any derogatory comments about
 22   the way it showed certain things in my front     22   black people.
 23   area, so I would try to dry off and air out as   23       A. I'm sorry. Excuse me.


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  1   much as I could. Because of the treatment I       1       Q. Do you need some water?
  2   was getting with my comp time being taken         2       A. No, I -- I get dry mouth, so I'm
  3   away, I started having some depression issues     3   fine. I'm not aware of him saying it
  4   because I was dealing with the issues at work.    4   personally to me, no.
  5   And I was already dealing with medical issues,    5       Q. Are you aware of Michael McCurry
  6   and I did not know what was going on with me      6   making any derogatory comments about black
  7   and I couldn't get an answer. I was going to      7   people to anyone?
  8   different doctors' appointments trying to find    8       A. Possibly.
  9   out what the answers were and nobody could        9       Q. Who did he make -- well, tell me
 10   find them out. And I just needed to              10   what you mean.
 11   understand why I was needing to use my comp      11       A. Okay. So Michael McCurry, Judy
 12   time the way that I was using it.                12   Yates and Cheryl Black, who were all white,
 13           And so I just thought maybe I            13   would sometimes meet up in either Judy's
 14   could call a meeting. And then also kind of      14   office or in his office, you know, just having
 15   like make them aware, you know, that's not       15   conversations throughout the day. Well, one
 16   fair to take away my comp time and I'm the       16   of those individuals, which is Cheryl Black,
 17   only black person in there and you're letting    17   is known for being a racist. So in those
 18   everybody else that's white use theirs.          18   moments, it's possible that he could have made
 19   That's all.                                      19   some comments about black people, derogatory
 20       Q. You discussed all those things in         20   comments in those meetings.
 21   your meeting with Michael McCurry and Judy       21       Q. Okay. Are you aware of any
 22   Yates?                                           22   derogatory comments about black people he made
 23       A. Yes.                                      23   in those meetings?


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  1       A. No.                                        1   regarding comp time on November 12th?
  2       Q. Okay. Are you aware of any                 2       A. If I can recall, she stated that I
  3   comments that Judy Yates made derogatory to       3   could start accruing comp time again, but it
  4   black people in those meetings?                   4   would be with restrictions. That restriction
  5       A. No.                                        5   was I would have to work from 7:30 to 4:30,
  6       Q. Are you aware of Michael McCurry           6   whereas the other white VSO officers were
  7   ever making any comments about preferring         7   allowed to come in at seven o'clock and leave
  8   white people?                                     8   at 4:30. So that means they would approve
  9       A. Not to me, no.                             9   more comp time than I would accrue because
 10       Q. Are you aware of Michael McCurry          10   they were coming in thirty minutes earlier
 11   ever making any comments about preferring        11   than me.
 12   white people to anyone?                          12       Q. Did Judy talk about any other
 13       A. Again, it's a possibility because         13   restrictions on November 12th?
 14   of the relationship he had with Judy Yates and   14       A. If I needed to use any additional
 15   Cheryl Black, so it's a possibility.             15   comp time or anything like that, I would have
 16       Q. But you're not aware of any               16   to get approval from her. And I believe
 17   comment Michael McCurry made regarding           17   that's it.
 18   preferring white people?                         18       Q. Did you ever request to get
 19       A. No.                                       19   additional comp time from Judy after November
 20       Q. Let's go back to Exhibit 3. The           20   12th?
 21   fourth paragraph talks about you resuming        21       A. Not from Judy. She was out of the
 22   earning comp time again on November 12th,        22   office, so I ended up having to talk to
 23   2019. Do you see that?                           23   Michael McCurry. We have a trial review board


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  1       A. (Reviewing document.) Yes.                 1   that we -- that I'm on, and we were working
  2       Q. What led to the November 12th,             2   through lunch. And so one of the restrictions
  3   2019 meeting with Judy?                           3   was that I could not work, you know, through
  4       A. I requested it.                            4   lunch, so I had to go and hunt down Michael
  5       Q. How did you request it?                    5   McCurry. I had to leave the meeting, hunt
  6       A. I can't remember if it was                 6   down Michael McCurry to make sure it was okay
  7   possibly just me going into her office, I         7   for me to work through the lunch. I ended up
  8   believe, or it could have been from an e-mail     8   missing half of the lunch because I had to
  9   that I originally sent to Michael McCurry         9   find him first. And that was very
 10   advising him of a surgery that I would           10   embarrassing because none of the VSO officers
 11   possibly -- that I would possibly need going     11   had to leave the meeting and they enjoyed
 12   forward and I needed my comp time to be          12   their lunch while I had to go hunt down
 13   reinstated so I'll be able to get the surgery    13   another person to see if it was okay for me to
 14   done.                                            14   work through my lunch.
 15       Q. Okay. What did Michael McCurry            15       Q. Did Michael McCurry give you
 16   say to you or write to you in response to that   16   permission to work through lunch?
 17   e-mail?                                          17       A. Yes.
 18       A. That I needed to discuss it with          18       Q. Did you earn comp time for that
 19   Judy Yates.                                      19   period through lunch?
 20       Q. Okay. And did you discuss it with         20       A. Yes.
 21   Judy Yates?                                      21       Q. Were there any other restrictions
 22       A. Yes.                                      22   placed on your ability to earn comp time on
 23       Q. Okay. And what did Judy say               23   November 12th?


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  1       A. Not that I can remember, no.               1       Q. Okay. Do you have any specific
  2       Q. Would you ever get to the office           2   knowledge of your time records being
  3   before 7:30 a.m. after November 12th?             3   inaccurate or untruthful?
  4       A. Honestly, I don't know. It could           4       A. There were times where I had to
  5   be a possibility there was one other time.        5   ask for corrections on my timecard because
  6   But I believe that one other time I did get       6   they were not correct. And that's -- that's
  7   permission from Judy because I had to get         7   happened maybe like once or twice. But that's
  8   permission before I -- if I could come in         8   the only times that I know of.
  9   before 7:30.                                      9       Q. Okay. And on those one or two
 10       Q. Did you ever ask for permission to        10   occasions where you had to ask for
 11   come in before 7:30 to anyone other than Judy?   11   corrections, were the corrections made?
 12       A. No.                                       12       A. Yes.
 13       Q. And did Judy give you permission          13       Q. Okay. Between your meeting with
 14   to come in before 7:30 when you would request    14   Michael McCurry and Judy Yates, whenever that
 15   it?                                              15   meeting occurred, and November 12th, 2019 when
 16       A. I can't remember. To be honest            16   you were allowed to start earning comp time
 17   with you, I cannot remember.                     17   again, did you complain to anybody at the DA's
 18       Q. You said you recall one time, it          18   office about earning comp time?
 19   may have been one time when you requested to     19       A. Yes. Again, I've had -- I
 20   come in before 7:30; correct? And --             20   complained to Erin Barefield, Elise Driskill,
 21       A. Yes.                                      21   possibly Edwina Johnson.
 22       Q. And you requested that from Judy;         22       Q. Edwina is the receptionist?
 23   correct?                                         23       A. Receptionist, yes. And I believe


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  1       A. Yes.                                       1   at this moment that's all I can recall.
  2       Q. Did Judy give you permission to            2        Q. The fifth paragraph of Exhibit 3
  3   come in before 7:30 on that one occasion?         3   talks about you e-mailing a complaint to Joe
  4       A. I can't -- really honestly I can't         4   Roberts; do you see that?
  5   remember.                                         5        A. Yes.
  6           MR. NOBLE: Let him finish his             6        Q. What complaint did you e-mail to
  7   question.                                         7   Joe Roberts?
  8       A. I'm sorry.                                 8        A. The e-mail I was complaining to
  9       Q. (BY MR. MURRILL:) Do you think             9   Joe Roberts about the unfair treatment I was
 10   your time records would show that, if you came   10   receiving from my supervisor, Judy Yates, and
 11   in before 7:30?                                  11   what I needed to do to see about getting that
 12       A. If they're truthful, yes.                 12   rectified. The unfair treatment consisted of,
 13       Q. Do you have any reason to believe         13   again, my comp time being taken away. And I'm
 14   that they're not truthful?                       14   the only VSO officer having their comp time
 15       A. Yes, possibly.                            15   taken away while the other white VSO officers
 16       Q. What reason do you have to believe        16   were able to still accrue their times with no
 17   that your time records are not truthful?         17   restrictions.
 18       A. Because of the treatment I                18        Q. Is the complaint that you e-mailed
 19   received, the discussions about me within the    19   to Joe the only time you e-mailed him a
 20   office, and the fact that I have been lied on    20   complaint?
 21   in that office by other staff in that office     21        A. I believe so. At this moment,
 22   that I worked under. It's a possibility that     22   yes, sir, I believe so.
 23   they could be incorrect or not truthful.         23        Q. And what was Joe's response to


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  1   that complaint?                                   1   try this again.
  2       A. That I would have to discuss it            2           MR. NOBLE: Sorry.
  3   with my supervisor. And then after that, it       3       Q. (BY MR. MURRILL:) After November
  4   would be follow the chain of command. And Joe     4   12th, 2019, you complained to two fellow VSOs
  5   Roberts would only be met with in regards to      5   about your comp time; correct?
  6   that after the chain of command is followed.      6       A. Yes.
  7       Q. Did Joe send his response by               7       Q. Did you complain to anyone else at
  8   e-mail?                                           8   the DA's office after November 12th, 2019,
  9       A. Yes.                                       9   about earning comp time?
 10       Q. Did you ever talk to Joe Roberts          10       A. In this moment, I don't believe I
 11   about your complaint?                            11   did.
 12       A. No.                                       12       Q. Okay. I want to focus on the time
 13       Q. Did you ever e-mail any other             13   period between September 23rd, 2019, when your
 14   complaint to Joe Roberts?                        14   comp time was taken away, and November 12th,
 15       A. No.                                       15   2019, when you were allowed to start earning
 16       Q. Did Joe Roberts ever tell you to          16   comp time again; okay?
 17   follow the chain of command on any other         17       A. Okay.
 18   occasion?                                        18       Q. All the questions I'm about to ask
 19       A. No.                                       19   you are for that time period, September 23rd,
 20       Q. After November 12th, 2019 when you        20   2019 through November 12th, 2019. During that
 21   started earning comp time again, did you         21   time did you take off of work?
 22   complain to anyone at the DA's office about      22       A. Yes.
 23   earning comp time?                               23       Q. Did you have some sort of leave to


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  1       A. There was no need after that               1   cover the time that you took off of work?
  2   because I was -- it was reinstated, but it was    2       A. Yes.
  3   reinstated with restrictions. I didn't want       3       Q. During that time, did you miss any
  4   to complain anymore because I didn't want to      4   medical appointments?
  5   have any other things taken away from me or be    5       A. I'm not sure during that time. I
  6   mistreated unfairly in any other way. So I        6   did miss some appointments. I don't know
  7   basically just kept everything else to myself     7   exactly if it falls between that time frame.
  8   and didn't really communicate with anyone in      8   I don't know.
  9   the office.                                       9       Q. Okay. During that time frame if
 10       Q. Okay. Just to make sure I                 10   you missed any medical appointments, were
 11   understand, after November 12th, 2019, you       11   those appointments rescheduled?
 12   didn't complain to anyone at the DA's office     12       A. It's a possibility they were
 13   about earning comp time; correct?                13   rescheduled. I would not know exactly what
 14       A. Incorrect. I did complain, but it         14   time they were rescheduled.
 15   was only, like I said, to Erin Barefield and     15       Q. Okay. Were all of those medical
 16   to Elise Driskill because I still had the        16   appointments for you?
 17   restrictions on me.                              17       A. I believe so. In this moment, I
 18       Q. Okay. Did you complain to anyone          18   can't say. Possibly yes, but it's a
 19   else at the DA's office besides Elise and        19   possibility they could have been for my
 20   Elaine [sic] after November 12th, 2019,          20   husband as well so I'm not really sure.
 21   regarding your comp time?                        21       Q. Okay. For the appointments that
 22           MR. NOBLE: Erin?                         22   you missed, were they rescheduled at some
 23       Q. (BY MR. MURRILL:) Erin. Let's             23   point?


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  1       A. I have one appointment that was            1        Q. Okay. The appointments that were
  2   not rescheduled. I do not know if it was          2   rescheduled for the time period that you were
  3   between that time frame though. I believe it      3   still at work, were you able to go to those
  4   was but that one was not rescheduled.             4   rescheduled appointments?
  5       Q. What was that appointment?                 5        A. No.
  6       A. That was for an orthopaedic.               6        Q. Okay. What appointments did you
  7       Q. Why was that appointment not               7   miss that you were not able to reschedule?
  8   rescheduled?                                      8        A. I missed a primary care
  9       A. Because I decided that I didn't            9   appointment. I believe I missed, if I can
 10   need the follow-up. The follow-up was for an     10   remember, it was an OB/GYN appointment. And
 11   additional surgery. I was not going to get       11   that's all I can remember right now.
 12   the surgery, so there was no need to follow      12        Q. Who was your primary care
 13   up.                                              13   physician or your primary care appointment
 14       Q. Gotcha. Now let's jump ahead.             14   with?
 15   The time period between November 12th, 2019,     15        A. My primary care doctor was Rick
 16   when you were allowed to start earning comp      16   Brown.
 17   time again and your termination on March 16th,   17        Q. Who was your OB/GYN?
 18   2020, so all of my questions are for that time   18        A. I don't have her information in
 19   period. November 12th, 2019, when you were       19   front of me. I don't know. I know it's at
 20   allowed to start earning comp time again,        20   St. Vincent's.
 21   through your termination on March 16th of        21        Q. Okay. Do you know when the
 22   2020, did you take off work during that time     22   primary care appointment was that you missed
 23   period?                                          23   and were not able to get rescheduled?


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  1       A. Yes.                                       1        A. I do not, no. I don't remember.
  2       Q. And did you have some sort of              2        Q. What about the OB/GYN appointment?
  3   leave to cover the time that you took off?        3   Do you recall when that was that you were not
  4       A. Yes.                                       4   able to get rescheduled?
  5       Q. Okay. Did you earn comp time               5        A. I don't remember.
  6   during that period?                               6        Q. Let's go back to Exhibit 1.
  7       A. I earned comp time with                    7        A. Oh, 1. I'm sorry.
  8   restrictions, yes.                                8        Q. Your interrogatory responses. And
  9       Q. Okay. But did you earn some sort           9   let's go back to page 4. The second bullet
 10   of comp time during that time period?            10   point says, made to bring doctor's excuse to
 11       A. Yes.                                      11   confirm I had an appointment, ordered by Judy
 12       Q. And did you use comp time during          12   Yates and Michael McCurry. Is that the event
 13   that time period?                                13   that took place on September 23rd, 2019, we've
 14       A. I believe so, yes.                        14   already discussed?
 15       Q. Okay. Did you miss any medical            15        A. Yes.
 16   appointments during that time period?            16        Q. Were you ever made to bring in a
 17       A. Yes.                                      17   doctor's excuse at any other time period that
 18       Q. Were those appointments                   18   you can recall?
 19   rescheduled?                                     19        A. Not that I can recall.
 20       A. I'm not sure. Most of my                  20        Q. The third bullet point says, made
 21   appointments were rescheduled after I was        21   to request permission from Judy Yates and
 22   terminated because I knew I could keep those     22   Michael McCurry to work through lunch while
 23   because I no longer had a job.                   23   working a project. No Caucasian victim


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  1   service officer had to request permission. Is     1   besides a new desk?
  2   that the event where you were trying to work      2       A. New desk. I think you call it
  3   through lunch on the project and you had to       3   like a bookshelf or a hutch or something like
  4   get with Michael McCurry to get permission        4   that. I believe she received new chairs, and
  5   that we've already discussed?                     5   that's all I can recall.
  6        A. Yes.                                      6       Q. Okay. When did this occur?
  7        Q. Did that happen on any other              7       A. I don't know the exact time. I
  8   occasion?                                         8   don't recall the exact time.
  9        A. Not that I can recall, no.                9       Q. Do you recall whether it was
 10        Q. Okay. Backing up to the doctor's         10   before or after November 12th, 2019, when you
 11   excuse, did you complain to anyone at the DA's   11   started earning comp time again?
 12   office about having to bring a doctor's          12       A. I'm not a hundred percent sure,
 13   excuse?                                          13   but I believe it was after.
 14        A. Yes.                                     14       Q. Did you complain to anyone at the
 15        Q. Who did you complain to?                 15   DA's office about not receiving new furniture?
 16        A. Erin Barefield and Elise Driskill.       16       A. I did not complain because I did
 17        Q. Okay. Did you complain to anyone         17   not want to have anything additional happen to
 18   at the DA's office about having to get           18   me, because I already had the black rat put on
 19   permission to work through lunch?                19   my nameplate. I already had comp time taken
 20        A. Yes.                                     20   away, and I was afraid it would be taken away
 21        Q. Who did you complain to?                 21   again. I already had, you know, some things
 22        A. Erin Barefield and Elise Driskill.       22   with different cases that I was a victim in
 23        Q. The fourth bullet point says, the        23   and my husband was a victim in that were


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  1   only victim service officer who did not           1   already being mishandled or dismissed and no
  2   receive new office furniture by Michael           2   billed. I was already, like I said, being
  3   McCurry even though I was hired before            3   watched, being followed, being monitored,
  4   Caucasian victim service officer. What are        4   micromanaged, just treated very disgustingly,
  5   you referring to there?                           5   and so I just decided why even make it -- my
  6       A. That was the incident where the            6   workplace even more hostile, so I did not say
  7   office was receiving new furniture. Erin          7   anything.
  8   Barefield was hired first, I was hired second,    8       Q. The next bullet point says, on
  9   Elise Driskill was hired third. The protocol      9   Exhibit 1, only victim service officer made by
 10   was that you would receive new furniture in      10   Michael McCurry to ask Caucasian victim
 11   the order that you were hired. I did not         11   service officer, Erin Barefield, if she wanted
 12   receive any new office furniture even though I   12   the vacant office before I could have
 13   was hired prior to Elise Driskill. But Elise     13   permission to occupy the empty office. What
 14   Driskill did receive office furn -- new office   14   are you referring to there?
 15   furniture.                                       15       A. There was an incident where
 16       Q. What did Elise receive?                   16   another VSO officer had resigned. She moved
 17       A. An entire complete set, office set        17   to another location.
 18   of furniture.                                    18       Q. All right. Let me stop you there.
 19       Q. New desk?                                 19   Which VSO officer --
 20       A. Yes.                                      20          MR. NOBLE: Go ahead.
 21       Q. New chair?                                21       Q. -- resigned?
 22       A. No.                                       22          MR. NOBLE: Let's let her finish
 23       Q. Anything else that she received           23   her answer, but fair enough, go ahead.


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  1       A. Okay. Racquel -- I don't remember          1   page 5, says constantly being watched and
  2   her last name.                                    2   reported by Judy Yates, Michael McCurry,
  3       Q. (BY MR. MURRILL:) Okay. Please             3   Cheryl Black, Joe Roberts and various other
  4   continue.                                         4   Caucasian staff, and in parenthesis, don't
  5       A. Okay. So Racquel had resigned.             5   know all their names. What are you referring
  6   She left and moved. I think her husband got a     6   to there?
  7   new job and she moved away and so her office      7       A. That was in reference to when I
  8   was vacant. Her office was a lot bigger than      8   had the meeting with Michael McCurry and Judy
  9   the office that I was already in. And because     9   Yates. I was informed then that I was using
 10   it was vacant, I asked Michael McCurry if it     10   comp time as soon as it accrued and it was
 11   would be a problem if I moved into that          11   being noticed by other coworkers in the
 12   office. He informed me that I needed to ask      12   office. And I guess, I can only assume that
 13   Erin Barefield if she wanted the office first    13   they either complained or had something to say
 14   before I would be able to occupy it. And if      14   about it. I don't know. So, in that
 15   she did not want it, then I would be able to     15   instance, that means I was being watched
 16   move into that office.                           16   because how would you know I'm using comp
 17       Q. Did you ask Erin whether she              17   time, how would you know I'm leaving, how
 18   wanted the office?                               18   would you know what I'm trying to use it for
 19       A. Yes.                                      19   unless you're watching everything that I do.
 20       Q. Did Erin want the office?                 20       Q. Okay. Who was it being reported
 21       A. No.                                       21   to?
 22       Q. Were you able to move into the            22       A. It was being reported that I knew
 23   office?                                          23   of to Judy Yates for sure. And Judy Yates


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  1       A. Yes.                                       1   reported it to Joe Roberts and Michael
  2       Q. Okay. And when did this take               2   McCurry.
  3   place?                                            3        Q. How do you know that Judy reported
  4       A. I can't remember the exact time.           4   it to Joe Roberts?
  5   In all honesty, I can't remember.                 5        A. Because that is the chain of
  6       Q. Do you think it was before or              6   command that she normally follows for her.
  7   after you started accruing comp time again on     7   She is my supervisor. If it's anything that
  8   November 12th, 2019?                              8   she sees or -- sees any other VSO officers do,
  9       A. Honestly, I can't answer because I         9   she reports it to Joe Roberts because that is
 10   don't know.                                      10   her supervisor.
 11       Q. Okay. Do you think it occurred in         11        Q. Okay. But do you have any
 12   2020?                                            12   specific knowledge of Judy reporting that to
 13       A. No.                                       13   Joe Roberts?
 14       Q. So at some point in 2019; would           14        A. I don't have specific knowledge,
 15   that be fair?                                    15   no.
 16       A. Yes.                                      16        Q. Okay. The next bullet point --
 17       Q. Did you complain to anyone about          17   well, let's back up. With regard to the
 18   having to ask Erin Barefield if she wanted the   18   watched and reported, did you complain about
 19   vacant office?                                   19   that to anyone at the DA's office?
 20       A. I complained to Erin Barefield.           20        A. Again, no, because I did not want
 21       Q. Did you complain to anyone else?          21   to have an even more hostile workplace, didn't
 22       A. No.                                       22   want to have, you know, something taken away
 23       Q. The next bullet point, which is on        23   from me or be discriminated against more or


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  1   retaliated against even more, so I just kept      1        Q. (BY MR. MURRILL:) Before our
  2   it to myself. Like I said, I already had          2   break we were talking about the bullet points
  3   complained before and I come to work and          3   that are on page 4 and page 5 of Exhibit 1.
  4   there's a black rat on my door. So I'm            4   Do you also believe your termination was an
  5   already being labeled a black rat or a snitch     5   act of discrimination?
  6   or anything like that for complaining about       6        A. Yes.
  7   unfair treatment, so I just didn't say            7        Q. Okay. Were you told why you were
  8   anything.                                         8   being terminated?
  9        Q. Okay. The last bullet point says,         9        A. No, I was never told.
 10   only victim service officer made by Judy Yates   10        Q. Were you given a termination
 11   to clock out or use time when someone visited    11   letter?
 12   my office while Caucasian service officer --     12        A. Yes.
 13   victim service officer constantly had visitors   13        Q. Okay.
 14   in her office without having to clock out or     14           (Whereupon, Defendant's
 15   use time. What are you referring to there?       15           Exhibit 4 was marked
 16        A. Okay. So there were times where          16            for identification.)
 17   VSO officers would have different people in      17        Q. I will show you Exhibit 4 to your
 18   their office. They were not talking about        18   deposition. Is Exhibit 4 the termination
 19   work-related things or anything like that.       19   letter you were given?
 20   They were just chitchatting. That officer,       20        A. (Reviewing document.) Yes.
 21   VSO officer never had to clock out to chitchat   21        Q. That letter is signed by Danny
 22   with another individual or anything like that.   22   Carr; correct?
 23   There were VSO officers that had family          23        A. Yes.

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  1   members that came to visit them in the office,    1       Q. Okay. Do you believe Danny Carr
  2   they never had to clock out or do anything        2   discriminated against you regarding your
  3   like that. Judy Yates even had her children       3   termination?
  4   come to the office and stay with her for a        4       A. Yes.
  5   couple of hours, she didn't have to clock out     5       Q. Do you believe that Danny Carr
  6   for that as well. I was the only one that was     6   retaliated against you regarding your
  7   told I had to clock out if I had someone visit    7   termination?
  8   me in my office.                                  8       A. Yes.
  9       Q. Did you ever have to clock out for         9       Q. All right. What was he
 10   someone visiting you in your office?             10   retaliating for?
 11       A. I did not. When she told me that          11       A. For complaining within the office
 12   she wanted me to clock out, I just told them     12   to the mistreatment that I was receiving, the
 13   don't worry about it, don't come.                13   discrimination I was receiving, the
 14       Q. Did you ever have to use leave,           14   retaliation I was receiving, the report of the
 15   any sort of comp leave to have somebody visit    15   black rat that was, you know, on my door. And
 16   you in your office?                              16   also I feel that he listened to things that
 17       A. No.                                       17   were being said that were actually false about
 18           MR. MURRILL: We've been going            18   me from Judy Yates, Joe Roberts and Michael
 19   about another hour. Do you want to take five     19   McCurry.
 20   minutes?                                         20       Q. Okay. So you talked about
 21           MR. NOBLE: Sure.                         21   retaliation with the complaint you were making
 22           (Whereupon, a short break was            22   in the office. What complaints are you
 23            taken.)                                 23   referring to?


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  1       A. The comp time complaints, the              1   can think of, you know, right now.
  2   harassment that I was receiving, the              2       Q. All right. Let's try to put some
  3   mistreatment I was receiving, the impact that     3   boxes on this. We've talked about the seven
  4   those things were doing to me mentally and        4   bullet points in response to interrogatory 6
  5   physically, having to be restricted on certain    5   on Exhibit 1; do you see those?
  6   things where other people didn't have those       6       A. Okay.
  7   restrictions, just being all around mistreated    7       Q. And you believe those were
  8   totally different from my other VSO officers      8   instances of discrimination; correct?
  9   that were white and the way they treated me.      9       A. Yes.
 10       Q. Okay. Are those complaints the            10       Q. Okay. We talked about your
 11   ones you've told me about when we were talking   11   termination and you believe that is
 12   about the other acts of discrimination or are    12   discrimination; correct?
 13   we talking about something different?            13       A. Yes.
 14       A. I don't understand the question.          14       Q. You just told me about mishandling
 15       Q. Sure. You told me about when I            15   cases. Do you think that is discrimination?
 16   would ask you on a specific matter who did you   16       A. I think it could be discrimination
 17   complain to and you would tell me who you        17   and it could also be a part of retaliation. I
 18   complained to. Are those the complaints you      18   think it's kind of like borderline on both.
 19   think Danny Carr was retaliating against you     19       Q. Okay. You also told me about the
 20   for?                                             20   black rat on your door. Do you think that was
 21       A. Yes.                                      21   discrimination?
 22       Q. Okay. We've talked about your             22       A. It's the same, yes, I feel like it
 23   termination. We've also talked about the         23   was borderline on both, discrimination and

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  1   seven bullet points on pages 4 and 5 of           1   retaliation.
  2   Exhibit 1. Do you believe the DA's office         2       Q. Okay. So what I'm asking you is
  3   discriminated against you in any other way?       3   other than the bullet points on pages 4 and 5
  4        A. I feel it was discrimination based        4   in response to interrogatory 6 and the
  5   on my race, me being the only African-American    5   termination and the mishandling of the cases
  6   VSO officer. I feel that when they mishandled     6   and the black rat, do you think the DA's
  7   the cases that involved me, I felt like that      7   office discriminated against you in any other
  8   was part of discrimination. That's what it        8   way?
  9   felt like to me. When they made me ask            9       A. In this moment, I believe that
 10   permission from the other VSO officer that was   10   these are all the ones that I can recall in
 11   white for an office before it would be given     11   this moment that I felt were discrimination.
 12   to me, when they made me, you know, have to go   12       Q. Okay. Let's talk about the black
 13   to ask to work through lunch when the other      13   rat. If you'll go to page 6 of Exhibit 1,
 14   VSO officers that were white didn't have to do   14   response to interrogatory 9, the first bullet
 15   that. You know, that was humiliating for me.     15   point says, October 2019 cutout of a black rat
 16   And I just felt like those were things of, you   16   placed on my nameplate outside my office,
 17   know, discrimination.                            17   unknown party. Tell me what happened.
 18           And also, you know, when they -- I       18       A. October 28, 2019 was a Monday.
 19   feel like it was discrimination when, you        19   The week prior I had had discussions with, I
 20   know, they put the rat on my door and it was     20   believe it was -- I can't recall if it was
 21   only on my door and I'm the only black VSO       21   Judy Yates or Michael McCurry. I can't
 22   officer. And no other VSO officer had a rat      22   remember exactly who it was. I left for work
 23   on their door. Those are the only things I       23   that Friday. Nothing was on my door. Nothing


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  1   was on anything in the hallway of where my        1   of this as well. My medication had already
  2   office is and the other VSO offices were.         2   been up from a hundred -- from seventy-five to
  3            All of the Halloween decorations         3   a hundred.
  4   for the office had been put up the first          4        Q. You can keep going.
  5   week -- towards the middle of the first week,     5           MR. NOBLE: He's just getting you
  6   beginning of the second week of October.          6   a tissue.
  7   Everything was already out. That was all the      7        A. My medication had already been
  8   little -- these were plastic rat cutouts that     8   increased to try to help me deal with it.
  9   were already out and they were on the floor by    9   They even added a booster to it to try to help
 10   the printer. You had like a picture of a         10   me deal with it. And it took me a while to
 11   witch that was on the side of the wall. No       11   try to talk myself out of the urges I was
 12   decorations were near any of the offices where   12   getting because I do self-harm myself. And it
 13   I'm located, Erin is located, or Elise was       13   took everything I had not to self-harm myself
 14   located on that Friday. Everything was           14   in the restroom at work.
 15   located by the printer and the break room that   15           And so after I finally got myself
 16   they used to keep the supplies and everything    16   together, I went back to my office and I took
 17   in. That's where everything was limited to as    17   a photo of it, and I just stayed in my office
 18   far as decorations.                              18   the remainder of the day.
 19            I come to work October 28, 2019,        19           I promised myself then I'm not
 20   which is that Monday. I come around the          20   going to say anything else to anybody,
 21   corner, the first thing I see is a cutout of a   21   complain or anything. I'll just take whatever
 22   black rat placed on my nameplate. And I          22   they give me. I only work an eight-hour
 23   stopped in mid-stride because I -- I -- I just   23   shift. I work Monday through Friday, I'll

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  1   stared at it because I was, like, I can't -- I    1   just get through it and I'll deal with it.
  2   can't believe this.                               2           I didn't want to ask Judy about it
  3          And I looked at Elise's door. I            3   because honestly I believe she's the one that
  4   looked at Erin's door. I even walked around       4   put it there. Because when I left work
  5   the corner to look at Judy's door and Cheryl's    5   Friday, all the VSO officers, we walked out
  6   door. No other VSO officer that was white had     6   together. Judy, Joe, and I think Michael
  7   a cutout of a black rat placed on their           7   McCurry were the only ones that were left in
  8   nameplate. It was only me, and I'm the only       8   that office at that time. And like I said it
  9   African-American. So it's either you're           9   was a Friday. I came back on that Monday and
 10   calling me a black rat because I'm               10   it was sitting on my desk -- I mean, it was
 11   complaining, you're calling me a black rat       11   sitting on my tag.
 12   because I am black, or you're calling me those   12           So, again, because I didn't want
 13   things because it's both. Either way, it         13   to go through anything else, I didn't want to
 14   was -- it was hurtful to me.                     14   harm myself again and I didn't want to make my
 15          When I saw it, I put my stuff down        15   situation worse with my health physically and
 16   in my office and I went to the bathroom. I       16   mentally, and I was tired of getting reported
 17   cried because I was tired, trying to do a job    17   and watched and looked at and lied on, so I
 18   while I'm being treated like crap by people      18   just didn't say anything. I just took the
 19   who don't even know me, haven't tried to get     19   photo and dealt with it.
 20   to know me, don't even know anything about me.   20        Q. (BY MR. MURRILL:) All right.
 21   I came back out -- no, I take that back. In      21   Let's see if we can unpack that a little bit.
 22   the bathroom I had to fight off urges because    22   Where was the black rat cutout relative to
 23   I was already going through depression because   23   your nameplate?


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  1       A. It was sitting right on top.              1   do not have a black rat on them.
  2       Q. Was it --                                 2       Q. If you'll flip over to page 35 of
  3       A. Above my name. It was a black rat         3   document 42, is that the picture that you have
  4   and then my nameplate.                           4   a color version of?
  5       Q. Okay. Let me show you a document.         5       A. Yes.
  6   I'm not going to mark it as an exhibit. There    6       Q. Okay. Do you have any other color
  7   was a point in this lawsuit that you             7   photographs regarding the black rat?
  8   represented yourself; correct?                   8       A. No, not that I recall, no.
  9       A. Yes.                                      9       Q. Okay. How long did the black rat
 10       Q. Okay. The document I've shown you        10   remain above your nameplate?
 11   was filed by you when you represented           11       A. That Monday when I first saw it,
 12   yourself. And for clarity, it was part of       12   the 28th, that Tuesday, the 29th, and I
 13   document 42, pages 33 through 36. Do you see    13   believe -- I believe it was Wednesday as well,
 14   that?                                           14   because Thursday I ended up having surgery, so
 15       A. Okay. Yes.                               15   I was out Thursday and Friday. So I don't
 16       Q. Do you have color photographs of         16   know if it was still up those days as far as
 17   what you filed with the Court as part of        17   Thursday or Friday. I do know when I came
 18   document 42, pages 33 through 36?               18   back to work after my surgery, it was gone.
 19       A. I don't have -- I have the color         19       Q. When did you come back to work
 20   photo of it, yes.                               20   after your surgery?
 21       Q. Okay.                                    21       A. That following Monday.
 22          MR. MURRILL: I've not seen that          22       Q. Okay. So would that be the
 23   color photo.                                    23   following Monday after October 28th?


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  1          MR. NOBLE: I'll get that to you.          1       A. Yes.
  2   I'm sorry. I thought they had been produced.     2       Q. Okay. And I know you said there
  3   I apologize.                                     3   were no black rat cutouts on any other VSO
  4       Q. (BY MR. MURRILL:) What color              4   office door; correct?
  5   photos do you have?                              5       A. Yes.
  6       A. I have a color photo of this one          6       Q. Were there any cutouts on any VSO
  7   with the rat above my nameplate.                 7   office door?
  8       Q. For reference, that's page 33 of          8       A. No.
  9   document 42?                                     9       Q. Were there any cutouts near any
 10       A. It says 33 of 36.                        10   VSO office door?
 11          MR. NOBLE: It's 33 of --                 11       A. No.
 12          THE DEPONENT: Okay.                      12       Q. Were there any other decorations
 13          MR. NOBLE: -- document 42.               13   on the wall in the VSO office suite?
 14          THE DEPONENT: Oh, okay. All              14       A. Yes. There was a photo of a
 15   right.                                          15   witch.
 16          MR. NOBLE: He's correct.                 16       Q. Where was that located?
 17       A. Okay. So, yes, that's what I'm           17       A. By the printer, copier, the copy
 18   talking about.                                  18   machine, the break room.
 19       Q. (BY MR. MURRILL:) Do you have any        19       Q. Why didn't you take the black rat
 20   other photos in color?                          20   down?
 21       A. Yes. I also have a photo of the          21       A. In all honesty, I am forty-seven
 22   same day, the same time of Elise Driskill's     22   years old. In my forty-seven years I've only
 23   nameplate and Erin Barefield's nameplate that   23   been called out of my name, the N-word, twice.


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  1   And the reason why I didn't take it down          1   Warren Brooks, Attorney Joe Roberts and Judge
  2   because that's exactly what I felt like I was     2   Katrina Ross. First of all, how many cases
  3   being called again outside of, you know, the      3   are we talking about?
  4   black rat. I didn't put it there so I was not     4       A. I believe I was the victim in one,
  5   going to take it down. I wanted to see who        5   which was harassing communication. My husband
  6   was going to take it down, that way I could       6   was a victim in a harassing communication by
  7   figure out who put it there because I wanted      7   Marquetta Murrell. And I think her name is
  8   to know. I wanted stuff to be stopped being       8   Angel Jones, I believe, which is Marquetta
  9   done behind my back, stop talking about me        9   Murrell's daughter. And my husband had a DV
 10   behind my back, stop reporting stuff about me    10   case against Marquetta Murrell. My harassing
 11   behind my back. You know, I just wanted to       11   communication case was again Marquetta
 12   see if the person that put it up there was       12   Murrell.
 13   going to be brave enough to be that person to    13       Q. So was it a total of three cases?
 14   take it down, and they weren't. They did it      14       A. Yes, I believe it was three.
 15   the same way they did, they put it up while I    15       Q. And Marquetta Murrell was the
 16   was gone and they took it down while I was       16   defendant in all three of those cases?
 17   gone.                                            17       A. Yes.
 18       Q. Did you ask anyone at the DA's            18       Q. And for one of the cases, Angel
 19   office who put it up?                            19   Jones was Marquetta's co-defendant?
 20       A. I did.                                    20       A. She had her own separate case.
 21       Q. Who did you ask?                          21       Q. Okay. So would it be a total of
 22       A. I asked Erin Barefield if she knew        22   four cases?
 23   who put it up there and I asked Elise Driskill   23       A. Yes, you're right.


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  1   who put it up there. And I decided to ask         1       Q. So there was one harassing
  2   those two because those are the only VSO          2   communications case involving Marquetta
  3   officers in that office that I did not have --    3   Murrell where you were the victim; correct?
  4   or they did not have problems with me. I was      4       A. Yes.
  5   not going back to Judy Yates for anything. I      5       Q. And there was a separate harassing
  6   wasn't going back to Michael McCurry for          6   communication case where your husband was the
  7   anything. And I definitely wasn't going back      7   victim also involving Marquetta Murrell;
  8   to Joe Roberts for anything because I saw what    8   correct?
  9   the results are. You get absolutely nothing.      9       A. Yes.
 10   You get lied on. You get discriminated           10       Q. All right. There was a domestic
 11   against. You get retaliated against. So why      11   violence case involving Marquetta Murrell
 12   would I even go back to them, so I could have    12   where your husband was the victim; correct?
 13   more stuff done to me.                           13       A. Yes.
 14       Q. Okay. Let's go back to Exhibit 1,         14       Q. And there was a harassing
 15   page 6. The second bullet point says,            15   communication case where your husband was the
 16   November 2019, comp time purposely restricted    16   victim, and did that involve Angel Jones?
 17   by Judy Yates and Michael McCurry. Have we       17       A. Yes.
 18   already talked about that?                       18       Q. Okay. How were those cases
 19       A. Yes.                                      19   mishandled?
 20       Q. Okay. The next bullet point says,         20       A. My harassing communication case
 21   my husband's DV and harassing communication      21   and my husband's harassing communication case
 22   cases purposely mishandled, dismissed and no     22   were combined, and they were handled by an
 23   billed to retaliate against me by Attorney       23   outside district attorney. Her name was Carol


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  1   Boone. Actually they're still being handled       1   being thrown out because Warren told my
  2   by her.                                           2   husband that he did not have to be present for
  3          At first they were before Judge            3   the court date, he said because he's being
  4   Katrina Ross, who then when I informed the        4   represented by the State. So the State is
  5   attorney who originally had the case, because     5   actually the victim in the case. So he didn't
  6   it was originally applied to an attorney in       6   go to court. Judge Ross threw the case out
  7   the DA's office, Jefferson County DA's office.    7   because he wasn't there.
  8   I believe -- that attorney I think was Amanda     8          In my practice, as a victim
  9   Wyman, I believe. I'm not sure, but I believe     9   service officer, when we've had victims that
 10   it was Amanda.                                   10   did not show, normally the judge will do like
 11          When I informed her -- because she        11   a continuance so either the person could be
 12   knew I worked there, number one. And I also      12   notified of the court date, figure out what
 13   informed her that my husband, Kireem Jeter,      13   happened. That didn't happen in this case.
 14   was in a relationship previously before me       14   She just automatically dismissed the charges.
 15   with Judge Katrina Ross, that it was a           15       Q. And we're talking about the
 16   conflict and she needed to recuse herself.       16   harassing communication case where your
 17   And so that's when they appointed the district   17   husband was the victim and Angel Jones was the
 18   attorney from -- I think it's St. Clair          18   defendant; correct?
 19   County, which is Carol Boone, to handle the      19       A. Yes.
 20   case. And the case was transferred over to       20       Q. Okay.
 21   Judge Fortune to handle.                         21       A. Now, with the DV case where my
 22          That case was tried, handled. Ms.         22   husband was the victim, Marquetta Murrell was
 23   Murrell was found guilty. She's on probation     23   the defendant, that one went to the grand


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  1   for twenty-four months, I think. And I think      1   jury. It is my practice when I was a VSO
  2   it was like -- I think it was like -- I'm not     2   officer, we accompanied the victims to the
  3   good with that, I'm not an attorney.              3   grand jury. The victim would testify to the
  4   Twenty-four months' probation, suspended          4   grand jury to tell them exactly what happened,
  5   sentence I think for twelve months. I think       5   how it happened, all of the things that led up
  6   that's how they worded it. And she was            6   to that. My husband showed up for grand jury.
  7   ordered to pay restitution on that case.          7   He was not allowed to testify. He never went
  8        Q. That was the case that was the            8   in front of the grand jury. He never was able
  9   combined harassing communication case             9   to speak to the grand jury.
 10   involving you and your husband; correct?         10           My husband in that case was hit by
 11        A. Yes.                                     11   a car driven by Marquetta Murrell. Because of
 12        Q. Okay.                                    12   being hit by a car, my husband has had a total
 13        A. The case with my husband where he        13   hip replacement. He is only forty years old.
 14   was a victim and the defendant was Angel         14   He was hit with a car. We have video of him
 15   Jones, that case was handled by Warren Brooks.   15   being hit by the car driven by Marquetta
 16   I also informed Warren Brooks, who is the        16   Murrell. So not only did he get hit by the
 17   attorney at the Jefferson County office, that    17   car, have video of him being hit by the car,
 18   I am an employee there. My husband was in a      18   had to have surgery, a total hip replacement,
 19   relationship with Katrina Ross because that      19   he didn't get to testify in front of the grand
 20   case was before Katrina Ross as well. He         20   jury and his case was no billed.
 21   never had her recused. She also would not and    21       Q. What district attorney handled
 22   did not recuse herself. That was a conflict.     22   that case?
 23           That case was -- actually ended up       23       A. Danny Carr went into that one.


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  1   Danny Carr, Carol Boone, and there was a          1   self-harm myself at work.
  2   detective. And I don't know the detective's       2       Q. What did you do at work to
  3   name.                                             3   self-harm?
  4        Q. And Carol Boone is with the St.           4       A. I'm -- I'm -- I'm a cutter. And
  5   Clair County District Attorney's office?          5   so stuff -- when certain things get hard for
  6        A. Yes.                                      6   me, I cut myself.
  7        Q. You said that case was no billed?         7       Q. Did you tell anybody you had cut
  8        A. Yes. And normally when a case is          8   yourself?
  9   no billed, you will get notification via          9       A. I informed Elise. I'm not sure if
 10   letter in the mail. We never received that.      10   I told Erin or not. Those are the people I
 11   I was called into Joe Roberts' office and he     11   told in the office. I told a friend of mine,
 12   verbally told me that the case was no billed.    12   who's a therapist, that -- outside of the
 13        Q. When were you called into Joe            13   office because that's not something I share.
 14   Roberts' office?                                 14       Q. Did you ever talk to Warren Brooks
 15        A. I can't remember the date. So, in        15   about the harassing communication case he
 16   that instance, we don't know what was said to    16   handled --
 17   the grand jury. We don't even know if it was     17       A. Yes.
 18   brought before the grand jury in that room.      18       Q. -- involving your husband?
 19   We don't know what they discussed. We don't      19       A. Yes, I did.
 20   know anything because my husband was never in    20       Q. And when was that case dismissed?
 21   there and never allowed to go in.                21       A. I can't remember.
 22        Q. And your husband was the victim in       22       Q. Do you know if it was in 2019 or
 23   that case?                                       23   2020?

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  1       A. Yes.                                       1       A. To be honest, I don't remember.
  2       Q. When Joe Roberts said it was no            2       Q. Okay.
  3   billed, did your husband attend that meeting      3           MR. NOBLE: Do you want to take a
  4   with you?                                         4   break?
  5       A. No.                                        5           THE DEPONENT: I'm good.
  6       Q. He just told you -- Joe Roberts            6       Q. (BY MR. MURRILL:) Other than
  7   just told you that it was no billed?              7   being the victim in the one case involving Ms.
  8       A. Yes, he called me to his office            8   Murrell where you were the victim, did you
  9   and told me.                                      9   participate in any aspects of the three cases
 10       Q. Okay. Did he explain why it was           10   involving your husband?
 11   no billed?                                       11       A. I don't understand the question.
 12       A. No.                                       12       Q. Sure. Did you do anything
 13       Q. Okay.                                     13   involving those cases? Did you have to go
 14       A. He didn't go into detail. I               14   to -- for example, did you testify regarding
 15   became very upset, went back to my office,       15   those cases?
 16   cried, closed the door. Erin came and checked    16       A. No. We ended up -- she ended up
 17   on me to see if everything was okay. I just      17   pleading guilty, so I didn't have to testify,
 18   told her I needed a minute. I told her that I    18   neither did he, in the harassing communication
 19   was tired, tired of dealing with it, tired of    19   case.
 20   dealing with everything here. I'm tired of       20       Q. Okay. What about the case that
 21   them trying to -- for them going through me or   21   Warren Brooks handled? Did you have to
 22   going through my husband to get to me and vice   22   testify in that case?
 23   versa. And at that point, I actually did         23       A. We never got a chance. It was


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  1   dismissed before Judge Ross.                      1   the box because you just threw stuff in there.
  2       Q. Did you ever talk to Judge Ross            2   I had books. I had my degrees in there. I
  3   about that case?                                  3   had all those things in there. What you
  4       A. No.                                        4   thought about me and my stuff was absolutely
  5       Q. Is Judge Ross a circuit court              5   nothing. So that was like -- you know, like,
  6   judge or district court judge, if you know?       6   okay, one more thing that you can do to
  7       A. I don't know, but I believe it's           7   LaNitra Jeter.
  8   district.                                         8       Q. And that all occurred after your
  9       Q. Okay. She's a judge? She doesn't           9   termination; correct?
 10   work for the DA's office; correct?               10       A. Yes.
 11       A. Correct.                                  11       Q. Okay. The next bullet point, page
 12       Q. All right. Let's go back to               12   6, only victim service officer that did not
 13   Exhibit 1, page 6. The next bullet point,        13   receive new office furniture by Michael
 14   March 16th, 2020, purposely humiliated by        14   McCurry even though I was hired before the
 15   Attorney Joe Roberts by two armed sheriff        15   Caucasian victim service officer that did
 16   officers. Was this the day you were              16   receive new office furniture. Is that the new
 17   terminated from the DA's office?                 17   office furniture matter we previously
 18       A. Yes.                                      18   discussed?
 19       Q. Okay. And you were escorted out           19       A. Yes.
 20   of the building after you were terminated?       20       Q. All right. So we've talked about
 21       A. Yes.                                      21   the things laid out in the six bullet points
 22       Q. Okay.                                     22   in response to interrogatory number 9. Are
 23       A. I think that was just the final           23   there any other ways that you claim the DA's

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  1   straw, them retaliating and possibly just --      1   office retaliated against you?
  2   you know, just humiliating me because here I      2        A. At this moment, this is all I can
  3   am, I'm a female. Why do I need two armed         3   recall at this present time.
  4   sheriff officers to escort me out of a            4        Q. Okay. Let's go back to Exhibit 3.
  5   building? I never showed any sense of being       5   Did you fax Exhibit 3 in the EEOC?
  6   aggressive, violent, anything at work, so why     6        A. Yes.
  7   do I -- so why did I deserve that? And then       7        Q. When did you do that?
  8   you take my badge. You take, like, my laptop,     8        A. March 20th. March 20th, 2020.
  9   the tablet and all those things. You don't        9        Q. Did you also send a copy to the
 10   even give me an opportunity to get my stuff      10   DA's office?
 11   together and take it with me. You tell me        11        A. No.
 12   that I can reach out to Sam Johnson to -- at a   12        Q. Did you send anything in writing
 13   later time to get my stuff out of my office.     13   to the EEOC before March 20th, 2020?
 14           And so I reach out, I reach out, I       14        A. I did the online intake. I think
 15   reach out, we could never meet. The next         15   it's called like an inquiry, I believe. I'm
 16   thing I know when I do go and finally meet       16   not really sure exactly what they're called,
 17   him, I'm thinking I'm finally going to get my    17   but I did the initial complaint online. And
 18   stuff out of my office, they've already packed   18   then I spoke -- then I sent this. And then I
 19   up my stuff and it's in a box. And they          19   ended up talking with an investigator. And
 20   didn't care.                                     20   then I got the dismissal, right to sue letter.
 21           They didn't even give me all of my       21   And then I had noticed that they had dated it
 22   stuff back. I still don't have all of my         22   incorrectly. So I did contact the
 23   belongings. I had things that were damaged in    23   investigator and made him aware of that. And


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  1   he sent it over to his supervisor, who then       1   Lasix surgery. I had 20/20 vision. My vision
  2   sent a letter to me and a letter to the           2   is not what it was. You see I'm wearing
  3   district attorney's office. I think it was        3   glasses. Even with glasses I have days where
  4   cc'd to Joe Roberts to let him know that          4   my prescription doesn't work, and so I have to
  5   the -- I guess the -- I want to call it like      5   just wait for my eyesight to clear up, it's
  6   the charge date, interview date or something      6   going to be blurry and things like that.
  7   like, that was incorrect. So the only thing I     7           I have nerve damage in my -- in my
  8   ever sent was this fax and the online             8   feet, so my circulation is not good anymore.
  9   application.                                      9   I actually don't have feeling in my right foot
 10        Q. Okay. When did you send the              10   on the right side. So if I actually hit it,
 11   online application?                              11   step on something, cut it, I would not know,
 12        A. I think the inquiry was done             12   and it's happened. And I didn't realize it
 13   November 2019. I don't know the exact date,      13   until I look down and I'm bleeding.
 14   but I think it was in November 2019.             14           My anxiety state, my depression
 15        Q. Do you have a copy of that               15   state, all of that has increased while I was
 16   inquiry?                                         16   working there. Some of it escalated even
 17        A. I do not have a copy. It would           17   after that because of the termination,
 18   actually be on the EEOC portal or it would be    18   retaliation, being walked out and humiliated
 19   in the EEOC file.                                19   because, again, I'm forty-seven years old.
 20        Q. Okay. So anything you would have         20   That's my first time ever being fired in my
 21   filled out with the EEOC prior to March 20th,    21   life. I've never been fired in my life like
 22   2020, should be in the EEOC file; is that        22   that before that.
 23   correct?                                         23           I had stopped cutting. The stress

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  1       A. Yes.                                       1   from working there and dealing with that and
  2       Q. Okay. All right. Let's switch              2   having things taken away from me and missing
  3   gears. You've told me about the                   3   doctors' appointments and not being treated
  4   discrimination with the DA's office. You've       4   like the other white VSO officers or having
  5   told me about the retaliation at the DA's         5   things retaliated against me. My husband is
  6   office. Did any of that discrimination or         6   missing appointments. My husband is getting
  7   retaliation cause you any physical injuries?      7   hit by cars and things getting no bills.
  8       A. Yes.                                       8   They're trying to convince us to drop cases
  9       Q. What physical injuries did the             9   against Marquetta Murrell, and I'm telling
 10   retaliation and discrimination cause you?        10   them different things. I'm telling Danny
 11       A. Because my comp time was taken            11   Carr, hey, I'm getting this done to me. I'm
 12   away and because I missed certain doctors'       12   being discriminated against. And he even --
 13   appointments that I actually needed, my          13   it looked at the point where he didn't even
 14   diagnosis was extended out longer because I      14   want to have a meeting with me. It wasn't
 15   could have found out what was actually wrong.    15   even his problem. He didn't care. Because
 16   I didn't find out what was wrong with me until   16   even when I told him those things and we're
 17   after I was terminated because I was able to     17   sitting in the meeting, he had a nonchalant
 18   make my doctors' appointments and get to that    18   attitude, like what are you even telling me
 19   doctor's appointment. I have Type Two            19   for, what's the big deal. And I guess it
 20   diabetes. Because it went on so long             20   didn't bother him because it's not happening
 21   undetected, I have nerve damage now.             21   to him.
 22           I have -- my vision is not good          22           So all of those things have
 23   because at first I had 20/20 vision. I had       23   affected me. Every day I have to take


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  1   antianxiety medicine. I have to take              1   body. So those things are physical to me.
  2   depression medicine. I started cutting myself     2        Q. Okay. So if I understand you
  3   again. I had stopped doing that.                  3   correctly, the physical injuries you claim
  4           So now I'm trying to get myself           4   that the retaliation and discrimination caused
  5   back to at least some form of normalcy with my    5   are your Type Two diabetes, your anxiety and
  6   diabetes, because when I first found out, I       6   your depression. Is there anything else?
  7   was at a nine. I was almost -- I was almost       7            MR. NOBLE: Object to the form.
  8   on my way out of here. It was just lucky that     8   You can answer.
  9   I was able to get an appointment and he was       9        A. Okay. Because I'm not a doctor
 10   able to get me on medication. I'm on insulin     10   and I don't really know what other
 11   now. I'll never be able to go back to a          11   possibilities can arise, because like I said,
 12   hundred percent like I was before.               12   I still go back and forth to the doctor. At
 13           I go downtown to try to go pay           13   this time those are the only things that I can
 14   stuff at the bank. I can't even pass by the      14   recall because I don't know. I really don't
 15   district attorney's office without having a      15   know.
 16   nervous breakdown.                               16        Q. (BY MR. MURRILL:) Okay. Who has
 17       Q. All right. I had asked you about          17   provided treatment for you for your Type Two
 18   the physical injuries that you say the           18   diabetes?
 19   depression -- excuse me, the discrimination      19        A. I see Dr. Michael Putman. I have
 20   and retaliation has caused. Are there any        20   to see -- he's my primary care --
 21   other physical injuries that you claim the       21        Q. Let me stop you there. Was he
 22   discrimination and retaliation caused?           22   your primary care physician while you were
 23       A. Well, I consider the depression           23   working at the DA's office?


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  1   and the anxiety to be physical because those      1       A. I actually had a primary care that
  2   are the things that caused me to cause            2   was Rick Brown, and then he stopped
  3   physical harm to myself with the cutting, so      3   practicing. So then I went to Michael
  4   that's why I considered that to be physical.      4   Putman --
  5   A lot of people don't understand. Stress,         5       Q. Okay.
  6   mental illness, mental health, anxiety, all of    6       A. -- but they're both at St.
  7   those things, those are physical because those    7   Vincent's. I have to see a neurologist who
  8   things can take a toll on your body when          8   kind of monitors my nerve damage. I have to
  9   you're going through those things. It causes      9   see a --
 10   you to have high blood pressure. It can cause    10       Q. Let me stop you there for a
 11   you to have heart disease, all those things.     11   second.
 12   Those are physical things, you know. I no        12       A. Okay.
 13   longer have, like I said, feeling in my -- in    13       Q. Who's the neurologist?
 14   my right foot because I didn't know I had        14       A. Oh, Dr. Newton.
 15   diabetes. I didn't know. If I had known and      15       Q. Do you know Dr. Newton's first
 16   caught it in time, I wouldn't have these         16   name?
 17   physical ailments now. I'm forever on            17       A. I do not.
 18   insulin. I have to take a shot every Sunday      18       Q. Do you know where Dr. Newton
 19   the rest of my life. This is not going away.     19   practices?
 20   So that's physical to me.                        20       A. It's going to be St. Vincent's.
 21           You know, and a lot of people            21   I've had to go to an orthopaedic specialist
 22   don't think depression and mental health is      22   because the diabetes has caused me to have a
 23   physical, but it is. It takes a toll on your     23   frozen shoulder. I originally saw Dr. Buggay.


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  1       Q. Is he the orthopaedic specialist?          1   was not feeling good. I was always nauseated.
  2       A. Yes, he's my first orthopaedic             2   I was always sick. So Dr. Kim was the first
  3   specialist.                                       3   one I could see. And he did all the blood
  4       Q. How do you spell Buggay?                   4   work and did everything. I mean, I stayed
  5       A. It's B-u-g-g-a-y.                          5   there all day. I said, you have to figure out
  6       Q. What is his first name?                    6   what's wrong with me.
  7       A. I don't know, but they're all at           7       Q. And prior to that, Dr. Rick Brown
  8   St. Vincent's. He was my first ortho. I           8   was your primary care physician?
  9   recently had to see another ortho. His name       9       A. Yes.
 10   is Dr. Kissel. I believe his first name is       10       Q. When did Dr. Brown retire?
 11   Edward. He's an orthopaedic. He's the one --     11       A. I believe his last practicing
 12       Q. Is he at St. Vincent's?                   12   month was December of 2019.
 13       A. Yes.                                      13       Q. Okay. Has anyone else treated you
 14       Q. Okay.                                     14   or diagnosed you regarding your diabetes?
 15       A. He's the one that actually did my         15       A. I did want to get a second opinion
 16   surgery that I just had to have. Dr. -- I        16   because I did not want to accept the fact that
 17   believe her name is Sara Mullins. She's my       17   I'm only forty-something years old and
 18   ophthalmologist. She tries to make sure I        18   diabetic, so I did go to Med Help. That was
 19   don't have diabetic neuropathy because my        19   in Trussville. I saw Dr. Yu and he confirmed
 20   eyesight goes in and out.                        20   I do have Type Two diabetes. And that's all.
 21       Q. Where does she practice?                  21       Q. Okay. Who has provided treatment
 22       A. She has two offices. I believe I          22   or diagnosis regarding your anxiety?
 23   saw her at her office on the South Side. And     23       A. That was done -- Dr. Putman has

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  1   I haven't started yet, but I'm supposed -- I'm    1   prescribed medication for me. Dr. Adeel
  2   waiting on a referral from my primary care        2   Rabbani.
  3   doctor so I can go see an endocrinologist, but    3        Q. I think I actually have that.
  4   I don't know who that's going to be. And an       4        A. Okay. And because I have friends
  5   endocrinologist is a person that specializes      5   who are therapists, they don't necessarily
  6   in diabetes and hormone diseases and things       6   treat me, but I'm able to discuss certain
  7   like that.                                        7   things with them. And they give me different
  8       Q. And will that referral come from           8   types of coping skills, CPT and DBT techniques
  9   Dr. Putman?                                       9   to try to keep me from becoming overwhelmed
 10       A. Yes.                                      10   and going into self-harm.
 11       Q. Have you received treatment from          11        Q. But have you seen or had any
 12   anyone else regarding your diabetes?             12   treatment by anyone other than Dr. Rabbani and
 13       A. Not treatment. I was diagnosed by         13   Dr. Putman regarding your anxiety?
 14   Dr. Edward Kim at St. Vincent's on March 19th,   14        A. Huh-uh, no.
 15   2020.                                            15        Q. Okay.
 16       Q. How long had you been treating            16        A. No. Not that I can recall today,
 17   with Dr. Kim?                                    17   no.
 18       A. I had not. That was the first             18        Q. Who has provided you treatment or
 19   person, because like I said, I missed            19   diagnosis regarding your depression?
 20   appointments. And I was like, it doesn't         20        A. It's going to be the same, Dr.
 21   matter who I see. My primary care doctor had     21   Putman and Dr. Rabbani.
 22   stopped practicing. I said, I don't care who     22        Q. Okay. Other than your anxiety and
 23   I see. I just need to see somebody because I     23   your depression, has the discrimination and


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  1   retaliation caused you any other mental health    1   Rabbani, co-pays I had to pay, you know, for
  2   effects?                                          2   the primary care doctors. All the
  3        A. It is a term that I don't know            3   prescriptions I had to, you know, get billed
  4   what it's called, because like I said, I'm not    4   because of the diabetes, the insulin and all
  5   a doctor, is when a person does self-harm. I      5   of that.
  6   don't know the official medical diagnosis for     6           The only thing I cannot -- I can't
  7   that. I don't know what that is, but I just       7   put a monetary amount on my emotional state
  8   know it's self-harm. Because like I said, I       8   that I went through. I don't know how to put
  9   had stopped doing it for years. And then when     9   a monetary amount on that because I -- I -- I
 10   I started going through the things at the DA's   10   was affected emotionally.
 11   office, it started back.                         11        Q. You talked about your co-pays.
 12        Q. Have you received any treatment or       12   Who was your insurer?
 13   diagnosis regarding your self-harm?              13        A. At the time I was insured through
 14        A. Well, it's no treatment that you         14   the State, which is going to be Blue
 15   can get for that. The only thing you can do      15   Cross/Blue Shield. Once I was terminated, I
 16   is, like I said, coping skills, CBT or DBT       16   had to pay out of pocket for my insurance,
 17   because there's no pill you can take that will   17   still Blue Cross/Blue Shield.
 18   make you stop self-harm. It's really just        18           In order for me to keep up or try
 19   about how you can manage the stress or the       19   not to lose my house after being terminated, I
 20   stressful situation that's causing you to do     20   had to do like mortgage assistance. I was on
 21   that.                                            21   that for maybe like six months where I did not
 22        Q. Have you seen any mental health          22   have to pay my mortgage, but they tacked it on
 23   providers for those coping skills?               23   to the end of my loan. And then a part of it

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  1       A. Yes, I see Dr. Rabbani. He's               1   was sent over as a second claim to a different
  2   given me some. And like I said, I have            2   mortgage company, so now I have two
  3   friends who are therapists and counselors         3   separate -- I have my mortgage payment, then I
  4   that, you know, give me some other than the       4   have -- if I ever sell my house, I have that
  5   ones that I know myself.                          5   other payment that needs to be repaid back for
  6       Q. And your discussions with your             6   the months I did not make my mortgage payment
  7   friends, that's not in a doctor-patient           7   in order for me to not lose my house.
  8   context, is it?                                   8       Q. Who's your mortgage holder?
  9       A. No.                                        9       A. At the time, it is Carrington
 10       Q. Any other effects on your mental          10   Mortgage.
 11   health other than your depression, your          11       Q. Was Carrington Mortgage the
 12   anxiety and the self-harm?                       12   mortgage holder when you were terminated from
 13       A. Not -- like I said, because I'm           13   the DA's office?
 14   not a doctor, I don't know offhand so I can't    14       A. I believe so because originally I
 15   really answer that.                              15   was with Chase but they were bought out -- not
 16       Q. Did the discrimination and                16   bought out. My loan was sold, and I don't
 17   retaliation cost you any money?                  17   know exactly when. So it could have changed
 18       A. Yes, I was terminated so I lost my        18   while I was there, but I'm not -- I'm really
 19   income.                                          19   not sure when exactly it changed. But I know
 20       Q. Did it cost you any other money?          20   now I'm with Carrington and I had to get the
 21       A. No. Money that I had to spend out         21   assistance through Carrington Mortgage
 22   for the prescriptions for the depression and     22   Company.
 23   anxiety, co-pays. I had to pay, you know, Dr.    23       Q. Okay. We talked about your


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  1   physical injuries, your mental health issues.     1   know something about your claims?
  2   We talked about the money that you say the        2       A. Because I also talk to her about
  3   discrimination and retaliation caused you.        3   things. You know, she's a pastor. She has a
  4   Has the discrimination and retaliation            4   doctorate. I was looking -- if you want to
  5   affected you in any other ways besides the        5   say spiritual aspect of it, I guess, just some
  6   physical injuries, the mental health issues,      6   guidance on things I could kind of deal with.
  7   and the money it has cost you?                    7   She gave me Bible verses to read and things
  8        A. I don't even know how to answer           8   like that to try to help me cope with some
  9   that because I really don't know. Because         9   things.
 10   it's like -- just like with the diabetes, if I   10       Q. And I believe you mentioned her
 11   was allowed to go to my doctor's appointments,   11   earlier but who is Monique Pierre-Louis?
 12   I would have found it out earlier. I don't       12       A. She's a good friend of mine.
 13   know what other issues can arise just out of     13   She's an also a therapist. Same thing, talk
 14   that part. I don't know. So I can't really       14   with her, let her know what was going on in
 15   say at this time.                                15   the office, what I was going through in the
 16        Q. Sitting here today, do you know of       16   office.
 17   any other ways it has affected you?              17       Q. And who is Oddesty Langham?
 18        A. Not as of today, no. Not as of           18       A. Another therapist. Same thing as,
 19   today, this present moment, no.                  19   you know, Monique Pierre-Louis. Well, Oddesty
 20        Q. All right. Earlier in the case           20   is actually the one that I confined in about
 21   when the attorney general was involved, your     21   the self-harm.
 22   lawyer sent over some initial disclosures and    22       Q. Who is Takia Adams?
 23   those disclosures listed a bunch of names,       23       A. She's a former coworker from Blue


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  1   many of them I don't know so I'd like to ask      1   Cross/Blue Shield. We remained close friends
  2   you about those people. And when I say your       2   even after I left. She's a good friend, you
  3   claims, I'm referring to your claims in this      3   know, just as you would talk to any other
  4   lawsuit; okay?                                    4   friend that you've known for over twelve years
  5        A. Okay.                                     5   about things that I was going through while at
  6        Q. All right. Who is Chad Harris?            6   work.
  7        A. He's my supervisor at my job at           7       Q. Okay. Who is Denise Courrier?
  8   Birmingham Family Counseling and Mediation        8       A. Denise is a friend of mine. She
  9   Center.                                           9   is actually -- she's actually an individual
 10        Q. And why do you think Mr. Harris          10   that wanted to come see me at work one day.
 11   might know something about your claims?          11   And that's when I was like, no, don't even
 12        A. Because I do supervision, which is       12   worry about coming because there was an issue
 13   part of me having my license, and I discuss      13   with me having to clock in and clock out of
 14   certain things with him within my supervision    14   with that. But she's also a good acquaintance
 15   to get some insight, like again coping skills,   15   of Danny Carr. They've been in an on-and-off
 16   insight on how to minimize, you know, some of    16   kind of like if you want to say relationship.
 17   my stress because I was going through -- I was   17   So she's just -- they're very well acquainted.
 18   having supervision while I was employed there    18       Q. Okay. And Edwina Johnson is the
 19   at the district attorney's office.               19   receptionist; correct --
 20        Q. Okay. Who is Reverend Dr.                20       A. Yes.
 21   Gwendolyn Pierce?                                21       Q. -- at the DA's office? Who is
 22        A. That's my mother-in-law.                 22   Willie Chamblin, Sr.?
 23        Q. And why do you think she might           23       A. That's my father.


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  1       Q. And what would he know about your          1   reasons he's leaving because he doesn't like
  2   claims?                                           2   the office politics when it comes to not being
  3       A. Everything. You know, we always            3   white.
  4   just go to Daddy, so I talk to him a lot.         4        Q. Who is Diedre Keener?
  5       Q. Okay. And who is Carolyn                   5        A. She's a friend of mine. She's a
  6   Chamblin?                                         6   therapist as well. I talked to her again
  7       A. My mother.                                 7   about coping skills. I've known her for over
  8       Q. Same?                                      8   fourteen years. And those are people that I
  9       A. Same.                                      9   felt like I could talk to about certain things
 10       Q. You've told me about Warren               10   and they will keep it private.
 11   Brooks. Who is Darius Crayton?                   11        Q. Who is Kenya Delaney?
 12       A. Darius Crayton is an attorney that        12        A. That's my hairdresser, you know.
 13   used to work at the DA's office. He's            13   That's my hairdresser. Just like when you're
 14   actually no longer there. He's at a different    14   sitting in a chair at the barbershop, you talk
 15   law firm. I don't know which law firm it is.     15   about certain things and it's just me talking
 16   I actually saw him on TV a couple of days ago,   16   with my beautician about certain things that
 17   but I don't remember the law firm he's at.       17   were going on as well.
 18           He was the individual that would         18        Q. And was Samuel Johnson one of the
 19   be in the office with the other VSO officers     19   deputies who escorted you out on March 16th,
 20   discussing certain things. I would go in that    20   2020?
 21   office sometimes and, you know, talk about       21        A. Yes, he's the -- and he was also
 22   things that were going on in the office and      22   the one that I was supposed to get in contact
 23   things like that. It's funny because they --     23   with to get my belongings.

                                       Page 138                                              Page 140
  1   when I say "they", you know, Judy Yates and       1           MR. MURRILL: Okay. Why don't we
  2   Michael McCurry and Joe Roberts are all           2   take five?
  3   watching me trying to see what I'm doing wrong    3           (Whereupon, a short break was
  4   and you don't even realize that you have a VSO    4            taken.)
  5   officer that is married that's having an          5       Q. (BY MR. MURRILL:) Ms. Jeter, you
  6   affair with an attorney that's engaged to a       6   were telling me earlier about some EEOC
  7   judge.                                            7   charges you had filed against employers other
  8       Q. Who is the VSO who was married to          8   than the DA's office and Central Alabama
  9   an attorney having an affair with a judge?        9   Wellness; do you remember that?
 10       A. She's married to a -- she was             10       A. Yes.
 11   married to her husband. The fiancé is Darius,    11       Q. Okay. Did anyone help you prepare
 12   who is dating a judge, which is Judge Patton.    12   those EEOC charges?
 13       Q. Okay. Why do you think Darius             13       A. No. But I -- they were actually
 14   might know something about your claims?          14   inquiries. I never got to the -- I don't
 15       A. Because, you know, I discuss              15   believe I ever got to the charge stage of it.
 16   certain things in the office and he would be     16   I just got to the part where we did the online
 17   in the office with Erin.                         17   part on some, and then some I was able to talk
 18       Q. Was he present for those                  18   to an investigator. And then they didn't go
 19   conversations?                                   19   any further than that.
 20       A. Yes.                                      20       Q. And do you recall which employers
 21       Q. Did he ever say anything about            21   or which employer those were regarding?
 22   what you were complaining about?                 22       A. No, I don't recall.
 23       A. He said that that is one of the           23       Q. Okay. There was a point in time


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  1   in this case where you represented yourself.      1   treatment to you over the last ten years?
  2   How did you find your counsel in this case?       2        A. Oh, gosh, most recent that I can
  3       A. What do you mean "counsel"? I              3   remember is going to be Dr. Adeel Rabbani.
  4   don't understand.                                 4   I -- it's not necessarily treatment, I would
  5       Q. How did you find your attorneys in         5   talk to individuals that I know who are
  6   this case?                                        6   licensed professional counselors because I
  7       A. I don't understand your question.          7   have plenty of friends that are. I would, you
  8       Q. You represented yourself in this           8   know, discuss things with them. Going back as
  9   lawsuit for a period of time; correct?            9   far as you want me to go back, I can't
 10       A. Yes.                                      10   remember who all provided me treatment though
 11       Q. How did you find the attorneys who        11   as far as for my --
 12   are currently representing you?                  12        Q. Do you remember where you received
 13       A. Oh, Google.                               13   treatment?
 14       Q. Okay. What did you Google?                14        A. I remember having treatment at
 15       A. Top Birmingham attorneys in               15   Alabama Psychiatry but they're no longer in
 16   Birmingham, Alabama.                             16   business. That was when I was employed with
 17       Q. Riley & Jackson didn't come up?           17   Blue Cross/Blue Shield of Alabama because we
 18       A. Well, the thing was I looked              18   were contracted with them for all employees to
 19   for -- it was discrimination. And it was like    19   go to them if they had, you know, a mental
 20   top discrimination attorneys or something like   20   illness or things like that. There's others
 21   that I Googled, I think.                         21   that I have seen. I can't recall their names
 22       Q. Did you have any issues with              22   though because it's been a while.
 23   depression before you started with the DA's      23        Q. Were all of those mental health


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  1   office?                                           1   treatments here in Birmingham?
  2       A. Yes.                                       2       A. Yes.
  3       Q. Were you on any medication for             3       Q. Were you referred to any mental
  4   depression before you started at the DA's         4   health treatments by Dr. Rick Brown when he
  5   office?                                           5   was your primary care physician?
  6       A. Not that I can recall, no.                 6       A. I was not referred. He actually
  7       Q. Did you have any issues with               7   prescribed me some as my primary care. I was
  8   anxiety before you started with the DA's          8   prescribed Wellbutrin, I believe Effexor as
  9   office?                                           9   well. I think it's Effexor. Those are the
 10       A. Not that I can recall, no.                10   two I can remember and recall right offhand.
 11       Q. You weren't taking any medication         11       Q. How long was Dr. Brown your
 12   for anxiety before you started at the DA's       12   primary care physician?
 13   office?                                          13       A. Approximately about -- I want to
 14       A. Not for anxiety, no.                      14   say maybe three -- three, maybe four years, I
 15       Q. Did you have any issues with              15   think.
 16   self-harm before starting at the DA's office?    16       Q. Who was your primary care
 17       A. It's hard to answer that question.        17   physician before Dr. Brown?
 18   Like I stated before, when you're a cutter,      18       A. I did not have one.
 19   you're always going to be that. It just          19       Q. Where else did you receive medical
 20   depends on what triggers you. I had not done     20   care over the last ten years other than Dr.
 21   that for years and when I mean years, it had     21   Brown and the places you've told me about with
 22   been like over ten.                              22   regard to your diabetes?
 23       Q. Who has provided mental health            23       A. Oh, well, it's not regarding my


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  1   diabetes. I wasn't diagnosed until 2020.          1            MR. MURRILL: That's fine.
  2       Q. No. My question was, where else            2            MR. NOBLE: Yeah. And you can
  3   have you had medical care over the last ten       3   just call out and say, what Bates are you
  4   years other than Dr. Brown and the places         4   talking about? Because our paralegal is very,
  5   you've told me about regarding your diabetes?     5   very upset that she had to go through and,
  6       A. Okay. Because I did not have a             6   like, make it line up. So that's why it's not
  7   primary care, if I did get sick, I just went      7   in --
  8   to the emergency room and that would be the       8            MR. MURRILL: That's fine.
  9   emergency room like at St. Vincent's East         9            MR. NOBLE: -- Bates number order.
 10   that's near my home. That's it.                  10            MR. MURRILL: No, that's fine.
 11       Q. So the only medical care you've           11            MR. NOBLE: But I will try to -- I
 12   received over the last ten years, other than     12   was primarily a brief writer. I understand
 13   what you've told me about including your         13   the Bates thing. I'll try to do that.
 14   diabetes, would be Dr. Rick Brown and the ER     14            MR. MURRILL: I'm primarily OCD.
 15   at St. Vincent's East?                           15            MR. NOBLE: I'm sorry, man. I get
 16       A. Yes, that I can recall.                   16   it. I'll just make this one big -- unless you
 17       Q. I don't think I have anything             17   have a -- if your OCD wants something else on
 18   further for you right now.                       18   that, I can do that.
 19       A. Okay.                                     19            MR. MURRILL: That's fine.
 20           MR. NOBLE: Okay. Can we take a           20            (Whereupon, Plaintiff's
 21   few minutes?                                     21            Exhibit 1 was marked
 22           MR. MURRILL: You want to take a          22             for identification.)
 23   break?                                           23            MR. RILEY: The key is just to

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  1           MR. NOBLE: Yeah, just a couple of         1   make sure you identify all the Bates numbers
  2   minutes.                                          2   that are in the composite exhibit so we --
  3           (Whereupon, a short break was             3           MR. MURRILL: Why don't we do that
  4            taken.)                                  4   at the beginning?
  5           MR. MURRILL: Can we agree that            5           MR. NOBLE: Okay.
  6   for the purposes of the deposition, we'll use     6           MR. RILEY: Yeah. Just go through
  7   these in Bates order?                             7   it and call it out, and that way we aren't one
  8           MR. NOBLE: No. Because they               8   day wondering -- somebody saying, oh, yeah, I
  9   all --                                            9   think there was another document that was in
 10           MR. MURRILL: No, I'm not asking          10   that exhibit.
 11   you to question her in Bates order, but          11           MR. NOBLE: It's going to be in
 12   ultimately when they -- when we go back to put   12   the exhibit though; right?
 13   this together, it will just be cleaner if we     13           MR. MURRILL: You would be
 14   can say, all right, it begins with whatever      14   surprised what we've run into.
 15   the lowest Bates number is and it goes to the    15           MR. NOBLE: So off the record,
 16   top.                                             16   71 --
 17           MR. NOBLE: Yeah, it's in                 17           MR. RILEY: Well --
 18   chronological order. You're welcome to           18           MR. NOBLE: Do you want to do it
 19   read -- I mean, if you catch it --               19   on the record?
 20           MR. MURRILL: Reverse                     20           MR. RILEY: Yeah.
 21   chronological order.                             21           MR. NOBLE: Okay.
 22           MR. RILEY: Just let him identify         22           MR. RILEY: Just say, you know,
 23   each document by the Bates number.               23   this is exhibit whatever.


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  1           MR. NOBLE: Sure.                          1        Q. Did he have a history in law
  2           MR. RILEY: It's comprised of the          2   enforcement?
  3   following Bates stamp numbers.                    3        A. Yes.
  4           MR. NOBLE: Sure. And we'll just           4        Q. Can you tell me about that?
  5   go through them and --                            5        A. Yes. He started out as a
  6           MR. RILEY: Yeah.                          6   corrections officer, then went to the academy,
  7           MR. NOBLE: -- make sure that              7   became a police officer for Birmingham and
  8   they're in order. I'm marking for                 8   then became a police officer with Brighton.
  9   identification Plaintiff's Exhibit Number 1,      9        Q. Okay. So about how many years
 10   which is a composite exhibit. And Counsel and    10   total did he have in law enforcement?
 11   I will go through it together because the        11        A. If I had to guess an estimate, it
 12   Bates numbers can be confusing. So we're         12   would be about -- maybe about twelve possibly.
 13   going page by page. So Bates 71 is the first     13        Q. Earlier you were asked about
 14   page. Bates 67 -- these are all DA Bates.        14   individuals on what we call, as lawyers, your
 15   Bates 66, Bates 57, Bates 74, Bates 338, Bates   15   initial disclosures, and Tan or Denise
 16   85, Bates 318, Bates 319, Bates 1111, Bates      16   Courrier's name came up. And I noticed that
 17   1112, Bates 82, Bates 80, Bates 78, and Bates    17   you shrugged your shoulders and said
 18   79 and then Bates 55. We're all on the same      18   relationship, and I was confused about that.
 19   page?                                            19   I wondered if you could explain a little bit
 20           MR. MURRILL: Yes.                        20   more about that.
 21           MR. NOBLE: All right.                    21        A. Tan, my friend, has been in kind
 22                                                    22   of a -- it's not a relationship, if you want
 23                                                    23   to call it friendship with benefits, if that's


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  1   EXAMINATION BY MR. NOBLE:                         1   what you want to call it -- off and on with
  2        Q. Ms. Jeter, I will try to be brief.        2   Danny Carr for a number of years. They know
  3   There was some testimony you've given about       3   each other very well. He's even had her over
  4   your husband; do you recall that?                 4   to the DA's office at one particular point. I
  5        A. Yes.                                      5   actually -- it was a time that she came to
  6        Q. At some point you had mentioned           6   visit and she was telling me she was coming.
  7   that your husband and the State had swapped       7   And she said to let, I guess Mr. Carr know she
  8   roles as victim; is that right?                   8   was coming. And when I did let him know, he
  9        A. Yes.                                      9   was like, well, she can stay in my office and
 10        Q. Can you explain more about that?         10   she can do this and just let her know I'll be
 11        A. Okay. My husband was told that he        11   there after a while.
 12   is the victim because he originally was the      12           Okay. Fine. So, you know, again,
 13   plaintiff in the case. And so once it goes       13   everybody else can have people in their office
 14   before a judge, that means that the State is     14   and it's not a problem, but me myself I have
 15   representing him in that case, so it's           15   to clock out every time somebody wants to
 16   actually going to be the State versus whoever    16   visit me or come to my office or anything like
 17   is the defendant. So it was our understanding    17   that. I just know for a fact, because I have
 18   that that means that the State represents my     18   been friends with her for a number of years,
 19   husband.                                         19   that they have had an off-and-on kind of
 20        Q. Okay. So it doesn't have anything        20   relationship.
 21   to do with your husband's history in law         21       Q. And just help me understand, you
 22   enforcement?                                     22   said friends with benefits, what does that
 23        A. No.                                      23   mean?


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  1       A. That means sexual.                         1   dated January the 8th of 2020. And it's
  2       Q. And you testified at length about          2   referencing VSO Nashville trip to the Family
  3   various complaints you've made to various         3   Justice Center.
  4   people at the DA's office. And in one of          4        Q. Okay. Go ahead and read what it
  5   those complaints you mentioned race               5   says there and let me know --
  6   discrimination; did I recall that correctly?      6        A. Okay.
  7       A. Yes.                                       7        Q. -- when you're done.
  8       Q. And that was a complaint to the            8        A. (Reviewing document.) Okay.
  9   DA; is that right?                                9        Q. Is the information reflected on
 10       A. It was a complaint to the DA, yes.        10   Bates 71 truthful information?
 11       Q. Okay. Before you complained to            11        A. Not a hundred percent truthful,
 12   the DA about experiencing race discrimination,   12   no.
 13   had you encountered any black rats at work?      13        Q. What on there is false?
 14       A. No.                                       14        A. It is false that I said that I was
 15       Q. Do you consider a black rat to be         15   not interested in going. That was not the
 16   a racist symbol?                                 16   response I gave her. The fact of the matter
 17       A. Yes.                                      17   is, I had been going through a lot of medical
 18       Q. So before you complained about            18   things at work. Like I stated before, I would
 19   race discrimination, you had not encountered     19   be nauseated. I would be dry mouth, sweating,
 20   racist symbols at work; is that right?           20   aching, you know, throwing up, and those
 21           MR. MURRILL: Object to the form.         21   things I couldn't control. And what I did not
 22   You can answer.                                  22   want to do is be out especially with other
 23       A. Oh, no, I hadn't experienced              23   officers or upper management and have one of

                                        Page 154                                             Page 156
  1   anything like that.                               1   those episodes. So that is why I decided to
  2        Q. (BY MR. NOBLE:) Okay. I just              2   just stay in the office and just do VSO work
  3   want to look at some documents with you that      3   there instead of going out.
  4   we've marked as Plaintiff's Exhibit 1. And        4       Q. Do you recall what you said, if
  5   we're just going to go through them. I'm          5   anything, to Judy when she asked you if you'd
  6   going to ask you a few questions and we're        6   like to attend?
  7   going to try to talk about the Bates number       7       A. I told her I was just going to --
  8   that we're looking at here. So we're starting     8   I'm going to stay in the office and do some
  9   at Bates number 71, and I'm going to ask you      9   VSO work.
 10   if you've seen this document before. Have you    10       Q. Okay. Let's move to -- well, let
 11   seen this document before?                       11   me ask you real quick. Is there anything else
 12        A. Yes.                                     12   that's false on Bates 71?
 13        Q. Okay. And when did you see it?           13       A. (Reviewing document.) No.
 14        A. When it was presented to me by my        14       Q. Okay. Let's move to the next
 15   attorney.                                        15   page, which is Bates 67. Take a look at that,
 16        Q. Okay. You didn't see it when you         16   please --
 17   worked at -- worked for the DA; correct?         17       A. Okay.
 18        A. Correct. Yes, I did not see it.          18       Q. -- Ms. Jeter, and let me know what
 19        Q. Take a look at the document and          19   that document is.
 20   tell us what it is. And we're looking at         20       A. Okay. It is a memo to my file, my
 21   Bates 71.                                        21   employee file, from Judy Yates, dated January
 22        A. Okay. It is a memo. It looks             22   the 9th, 2020. And the subject, in reference
 23   like it's directed to my file from Judy Yates,   23   to LaNitra Jeter.


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  1       Q. Okay. And we're going to do the            1   January the 10th, 2020, in reference to Nitra
  2   same thing with Bates 67, which is I'm going      2   time.
  3   to ask you to read that. I want you to tell       3        Q. Okay. Take a minute, please,
  4   me if anything in there is false.                 4   ma'am, read over that document as we've been
  5       A. (Reviewing document.) Okay.                5   doing. Read over Bates 66 and let us know if
  6       Q. You've had an opportunity to read          6   there's anything in there that is false, if
  7   Bates 67. What, if anything, on Bates 67 is       7   anything at all.
  8   false, Ms. Jeter?                                 8        A. (Reviewing document.) Some of it
  9       A. I'm not a hundred percent sure,            9   is true, some of it is false.
 10   but I'm not a hundred percent -- that she's      10        Q. Okay. Tell us what's false in
 11   saying when -- Judy Yates is saying when she     11   that document.
 12   got to the office that I had already left. I     12        A. Where she said I just stuck my
 13   wasn't sure -- I really can't say whether or     13   head in her office today and I told her that I
 14   not -- if I clocked in at 7:00 but I think I     14   would be late on Tuesday. No, I actually
 15   did. She said, she returned to the office at     15   informed her if it was okay for me to come in
 16   2:15, I had clocked out for May's court. She     16   late on Tuesday because I was going to have to
 17   states in here that she and Cheryl went          17   be out of the office. So I never did just
 18   looking for me because -- they went looking      18   tell her anything. I actually asked her if it
 19   for me and also called Lauren in Judge May's     19   was going to be okay.
 20   court because I had clocked out saying I was     20            And in this situation again, like
 21   at May's court. And I was in Judge May's         21   I said before, when we are requesting time
 22   court. We was actually in his court chambers,    22   off, it's policy that all we have to do is
 23   so they would not have seen me in the            23   request. It's not necessarily required for us

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  1   courtroom. There was nowhere for me to clock      1   to tell them why we need to be off. I just
  2   out and say I'm in Judge's chambers. I can        2   did -- I just do that as a courtesy just so
  3   only say I'm in the judge's courtroom, so that    3   they'll know what I'm trying to do, and it's
  4   is not true.                                      4   very important. That way they'll approve it
  5           As I stated before, here it is            5   instead of trying to take it away from me and
  6   again, Cheryl and Judy are out walking around     6   tell me that I could not go. It was a very
  7   looking for my car, looking for me, and           7   important situation that was going on at that
  8   they're only doing that to me. They're not        8   time. I had to go all the way to Atlanta to
  9   doing that for anybody else. They're not          9   handle something that was for my son.
 10   checking up on anybody else. So, again,          10            My son has ADHD. Even though he's
 11   that's harassment. That's the discrimination     11   grown, there's certain things he can't do on
 12   I'm talking about. Judy never asked me if I      12   his own because of his ADHD, and so I have to
 13   was in May's court, if I was in May's chamber.   13   help him in certain instances. And that
 14   She just assumed that I had left the office      14   instance was going to be him having to go to
 15   and that's not true.                             15   court over something that was going on with
 16       Q. What, if anything, else is untrue         16   his apartment.
 17   about the information on Bates 67?               17        Q. Okay. I understand. Thank you.
 18       A. That's all that's untrue.                 18   Is there anything else other than what we've
 19       Q. Okay. Let's move to the next page         19   just talked about that's false about Bates 66?
 20   which is Bates 66. Would you tell me what        20        A. No.
 21   that document is, please, ma'am?                 21        Q. Okay. Let's move to Bates 57.
 22       A. This is another memo to my file,          22   And would you please tell me what that
 23   my employee file from Judy Yates, dated          23   document is?


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  1       A. Okay. It's another memo to my              1   try to inform her of what I needed to do. So
  2   employee file from Judy Yates, dated February     2   there was nowhere -- no one for me to inform
  3   the 25th of 2020. And this is in reference to     3   what I needed to do, what I was going through
  4   leaving building and not signing out or asking    4   and how to try to fix this problem. So I had
  5   permission.                                       5   to fix it the best way I knew how.
  6       Q. Okay. Like we've been doing, go            6        Q. Okay. Anything else false about
  7   ahead and read through there --                   7   Bates 57?
  8       A. Okay.                                      8        A. No.
  9       Q. -- and tell us if anything in              9        Q. Let's move to Bates 74. Would you
 10   there is false on Bates 57.                      10   tell us what that document is?
 11       A. (Reviewing document.) Again, some         11        A. Another memo to my employee file
 12   of this is true and some of this is partially    12   from Judy Yates, dated November 18, 2019,
 13   false.                                           13   referencing domestic violence firearms
 14       Q. Okay. What's false on Bates 57?           14   project.
 15       A. Okay. I did go out of the                 15        Q. Okay. Is the information
 16   building. And like I stated before, in the       16   reflected on Bates 74 true?
 17   instances where I have the hot flashes, on       17        A. Partially true. What is missing
 18   this particular day I had on a blouse. It's      18   is the explanation given as to why I declined.
 19   made out of like the nylon material. It's        19   The domestic violence firearms project was
 20   kind of like -- it's not very thick. But in      20   being held, however, like I stated before to
 21   this particular instance, I had a hot flash to   21   Judy, I've had several surgeries on my ankles.
 22   the point it went through my whole shirt.        22   I'm not able to stand for long periods of
 23           I went to the bathroom inside of         23   time. I'm not able to walk for long periods

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  1   the DA's office trying to, you know, dry off      1   of time. There was no way I was going to be
  2   or whatever and it wasn't going as well. I        2   able to attend that and be comfortable and be
  3   went outside because it was, you know, a          3   able to stand and walk if I needed to be in
  4   little bit windier outside so it could try to     4   the capacity of a VSO officer. So that is why
  5   get that done. It would not have been a           5   I declined not to go. And on top of the fact
  6   problem about the hot flash but it wasn't         6   of still I'm having medical issues, and I
  7   appropriate again and I felt uncomfortable        7   don't know what's wrong with me as far as my
  8   because, again, certain things in the front       8   medical issues.
  9   were showing. And I felt like I could go          9        Q. To your knowledge, was Ms. Yates
 10   outside and get it dried off and I was walking   10   aware of your reason for declining?
 11   like this (indicating) so I could get it done.   11        A. She was aware.
 12   And I walked up the street, I came back down     12        Q. Did you make her aware?
 13   and I went back in the bathroom of the 2121      13        A. Not verbally at that particular
 14   Building to try to, you know, wipe some more     14   time. I have had discussions with her before
 15   off before I went back into the building.        15   where she has known that I cannot walk for
 16            Now, when we take breaks, it's not      16   long periods of time or stand for long periods
 17   required for us to take a break. I was not       17   of time. I informed her of this when I first
 18   gone twenty minutes. If anything, it was ten     18   started working at the DA's office. I even
 19   minutes and we get 15-minute breaks. We don't    19   told her about the surgeries that I had.
 20   have to clock out for a break. So I didn't       20        Q. Anything else false we need to
 21   feel like -- well, I didn't have to clock out    21   talk about on 74?
 22   for that. And also Judy Yates was not in her     22        A. No.
 23   office and nowhere to be found for me to even    23        Q. Okay. Let's look at Bates 338.


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  1   Can you tell me what that document is?            1   that knowing I could not go, and then put it
  2       A. This is a memo to my employee file         2   in my file to make it seem like I'm not
  3   from Judy Yates, November 22nd -- well, dated     3   interested in any type of training.
  4   November 22nd, 2019, referencing chain of         4           Also when the training -- when the
  5   command.                                          5   conference was over at three or maybe four
  6       Q. All right. Read over that and let          6   o'clock, we would have to drive back from
  7   me know if there's anything in there that's       7   Nashville back to Birmingham in my own
  8   false.                                            8   vehicle. I don't want to put all those miles
  9       A. (Reviewing document.) Okay. So,            9   on my personal vehicle.
 10   again, partially true, partially false.          10           Also at that time I was still
 11       Q. Could you explain, please, ma'am?         11   having problems with my eyesight. I cannot
 12       A. Yes. In this particular memo,             12   drive when it gets dark at night. But that's
 13   Judy states that she believes that the e-mail    13   not the concern because Cheryl Black gets to
 14   that I sent to Joe Roberts is from -- sorry,     14   leave work early because she doesn't want to
 15   Judy Yates states the e-mail that I sent to      15   drive home in the dark at night, but you want
 16   Joe Roberts is stemming from the point of        16   me to drive all the way from Nashville in the
 17   Cheryl, Erin and Elise being allowed to attend   17   dark a hundred and something miles to do that.
 18   a domestic violence seminar and that I was not   18   And instead of putting that in my employee
 19   asked to work -- and that I was asked to work    19   file the way it should have been done, she
 20   in the office and I was not allowed to go.       20   made it seem like I'm not interested in any
 21   That is not what the e-mail was in reference     21   type of training in that office, which is not
 22   to.                                              22   true.
 23           The e-mail to Joe Roberts was in         23        Q. Were you ever counseled while you

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  1   reference to the unfair treatment I was           1   worked for the DA's office for declining
  2   receiving from having my comp time taken away     2   training?
  3   from me and not being taken away from any         3       A. No.
  4   other white VSO officers. Also it was in          4       Q. Were you ever spoken to about
  5   reference to the treatment I was receiving        5   someone in your chain of command having a
  6   from Judy Yates, because in there I said I was    6   problem with you declining some sort of
  7   treated unfairly by Judy Yates in that e-mail.    7   training?
  8   And I was asking him what is the chain of         8       A. No.
  9   command when you have a problem with your         9       Q. Were you ever counseled for not
 10   supervisor. I mean, I don't want to talk to      10   attending events while you worked for the DA?
 11   my supervisor if I have a problem with my        11       A. No.
 12   supervisor. So that's why I was asking what      12       Q. Did anyone in your chain of
 13   is the chain of command in that instance.        13   command express an issue they had with you
 14           On here also there is an addendum        14   regarding not attending events?
 15   where she says that she also asked me another    15       A. No.
 16   time to go to Nashville with the other VSO       16       Q. You mentioned Cheryl Black, and so
 17   officers and I declined. She didn't put in       17   I'm going to go back to Bates 338 real quick.
 18   here why I declined. We had to drive             18   You testified earlier something about Ms.
 19   ourselves to Nashville that morning. The         19   Black being a known racist; did I get that
 20   facility we were going to was over a hundred     20   right?
 21   thousand square feet and it was a tour. I        21       A. Yes.
 22   cannot walk that, so why would I go to that?     22       Q. Could you explain that?
 23   And then why would you even ask me to go to      23       A. Cheryl Black is known for making


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  1   racist remarks to other employees and about       1   with it. That would be Bates 85 and then
  2   other employees and in front of other             2   Bates 318 and 319, I believe.
  3   employees. That is why other employees within     3       A. Okay.
  4   the district attorney's office, that could be     4       Q. So that's the three that we're
  5   admin, that could be supply, they kind of just    5   looking at right now --
  6   keep their distance from her especially the       6       A. Okay.
  7   African-American ones. So basically if you        7       Q. -- just to be clear. Bates 85,
  8   stay out of her way, she won't have anything      8   Bates 318 and 319.
  9   to say about you or anything like that. So        9       A. Okay.
 10   she's known for that, and that's why I felt      10       Q. So look over those documents, Ms.
 11   like it was discrimination because Cheryl        11   Jeter, and tell me what they are.
 12   Black and Judy Yates, they're best friends.      12       A. (Reviewing documents.) Okay.
 13   They've been working that program for over       13   Same response, partially true, partially
 14   twenty something years. It was just those two    14   false.
 15   in that program before the other VSO officers    15       Q. Okay. Explain that for us.
 16   were hired.                                      16       A. Okay. So this is a memo to Danny
 17       Q. When you say it was just known            17   Carr and Joe Roberts --
 18   that Cheryl Black was racist, how do you know    18       Q. And by "this", you're touching
 19   that?                                            19   Bates 85.
 20       A. I was informed of that by another         20       A. Okay. From Judy Yates, subject is
 21   African-American employee that's in the          21   LaNitra Jeter, and it was cc'd to Michael
 22   district attorney's office that worked in        22   McCurry. So in this one, she's saying that --
 23   admin that has been there for years, that has    23   well, let me start it this way. This memo, or

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  1   known Cheryl Black since she had been there.      1   however you want to say it, is in reference to
  2   She has had her own experience with Cheryl        2   what I told two different VSO officers and
  3   Black herself, and she was just telling me        3   Judy Yates at work. Like I stated before, my
  4   about that when I had walked to the front desk    4   husband and I have had cases. We also have a
  5   one day and she was there.                        5   case across the street that involved Judge
  6       Q. What is her name?                          6   Stephens and we had a different case across
  7       A. I can't recall.                            7   the other way that involved Judge Patton.
  8       Q. Was it --                                  8           As I stated before, Erin also has
  9       A. Because -- oh, I'm sorry.                  9   Darius Crayton in her office the majority of
 10       Q. Was it just the one conversation          10   the time, who is the fiancé of Judge Patton,
 11   you had with her about Cheryl Black?             11   who has one of my husband's cases for one of
 12       A. Yes.                                      12   his children that we have custody of. A lot
 13       Q. Did you have any other                    13   of information from my work was getting
 14   conversations about Cheryl Black having an       14   transferred and transmitted from someone in
 15   alleged racist attitude at all?                  15   the office, and I did not know who it was,
 16       A. No, not that I can remember at            16   into the cases. Because those cases, the
 17   this time, no.                                   17   judge would bring up certain things that were
 18       Q. Okay. Let's go back to 338. Have          18   out of the office. I didn't like that,
 19   you identified everything on Bates 338,          19   because, number one, they were not true.
 20   Plaintiff's Exhibit 1, that is false?            20           This happened in Patton's
 21       A. Yes. I'll say yes.                        21   courtroom. This happened in Stephens's
 22       Q. Okay. I am now moving to Bates            22   courtroom. So what I wanted to do was find
 23   85, and 85 has a couple of documents that go     23   out who exactly is submitting or giving out


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  1   information -- well, especially false             1   to say that I'm giving out information from my
  2   information about me and what was going on in     2   job to other people and I'm breaking
  3   the cases.                                        3   confidentiality. That's what I was saying.
  4            So I informed Judy of a situation        4   So I'm trying to figure out who was saying
  5   that I said happened in the courtroom because     5   that I'm doing those things, because that's
  6   I'm trying to figure out, is she going to go      6   not what I'm doing.
  7   back and tell it or is Erin going to go back      7           Even my husband's cases that I
  8   and tell it or is Elise going to go back and      8   have access to look up on the system, I never
  9   tell it, because I'm trying to figure out who     9   touched. I didn't want to read them. I
 10   is leaking my information.                       10   didn't want to have access to them because I
 11            Well, nobody said anything except       11   did not want it to be a conflict of interest
 12   for Judy Yates, who then went and told Michael   12   and his cases get messed up.
 13   McCurry. And what she told Michael McCurry       13           So that was my issue. I'm trying
 14   was not even close to what I said to her or      14   to figure out again who was trying to watch
 15   whatever happened, because her statement is      15   over me, who's trying to tell, you know, lies
 16   totally different from Elise's and Erin's        16   about me or trying to kind of subsequently get
 17   statement. So this is when we ended up having    17   me fired saying I am giving confidential
 18   a meeting about the situation and I told her     18   information out when I was not.
 19   exactly what happened and why it was like that   19        Q. Did I understand you correctly,
 20   and she didn't have anything to say. It was      20   when you said that you had planted some
 21   kind of like, you know, no big deal, no big      21   information to several people to kind of
 22   problem, and nobody ever confirmed to me who     22   figure that out?
 23   was saying what about me and why was my          23        A. Yes.

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  1   information getting put into cases that had       1        Q. Could you explain that a little
  2   nothing to do with the district attorney's        2   better?
  3   office.                                           3        A. Okay. So we have a case that was
  4       Q. I'll confess, I'm confused.                4   going on in Judge Stephens's courtroom. This
  5       A. Okay.                                      5   case is again dealing with Marquetta Murrell,
  6       Q. So are you saying that information         6   the same Marquetta Murrell that Danny Carr was
  7   from your workplace was leaking into              7   trying to, you know, tell me I needed to let
  8   courtrooms in matters you were involved           8   the cases go. Don't go to court. Court is
  9   about -- involved in?                             9   not a place to handle these things.
 10       A. Yes.                                      10           So in this particular case, you
 11       Q. Could you give us an example?             11   know, Marquetta Murrell brought up things in
 12       A. Okay. In one particular case, it          12   the courtroom about what I had access to. And
 13   was brought up about what I did at the DA's      13   I'm trying to figure out, what do you mean?
 14   office, what was my initial goal at the DA's     14   And how would you even know what I do? You're
 15   office, what I did in a capacity at the DA's     15   not even in a capacity to know what I do at
 16   office, would I be able to have access to        16   the DA's office. So, again, I figured -- and
 17   certain files within the DA's office. And if     17   plus, keep in mind, at that particular point
 18   I had those -- access to those files, what       18   in time, we were still getting -- well, my
 19   files did I have access to.                      19   husband was getting calls from a private
 20           And so that was going back to -- I       20   number to a number that he doesn't even have
 21   just know in the DA's office, you have a -- we   21   listed, to a cell phone he had just, you know,
 22   have a confidentiality. So it's kind of like     22   recently got so nobody had the number. That
 23   I'm breaking confidentiality, so you're trying   23   number was in his file that's in the system at


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  1   the DA's office. So I'm trying to figure out     1   actually texted both of them at the same time.
  2   what is going on.                                2   It was a group text. I informed them the same
  3           So basically what I said, in that        3   thing that I informed Judy Yates. The only
  4   particular one, we had a court case. In that     4   difference is what Judy Yates stated to
  5   court case, Marquetta Murrell is bringing up     5   Michael McCurry is totally different from what
  6   certain things, you know, in that court case     6   was stated by Elise Driskill and Erin
  7   about what I do in the DA's office, how my       7   Barefield. But I told all of them the same
  8   employment at the DA's office is making it be    8   exact story.
  9   like against her in this particular case, you    9          So, again, like I said, that makes
 10   know what I mean? And information was being     10   me believe again that it was Judy Yates that
 11   given out by me regarding cases in the DA's     11   has been, you know, reporting things on me
 12   office, again, going back to me personally      12   that were false and untrue. As far as in a
 13   giving out information on cases, which is       13   form of retaliation and discrimination against
 14   breaking confidentiality. Because like I        14   me.
 15   said, that's the number thing in the DA's       15       Q. Let's look at Bates 319 real
 16   office.                                         16   quick, and we're still on this Plaintiff's
 17           And so again I told Judy Yates,         17   Exhibit 1, which is in this little
 18   Erin Barefield and Elise Driskill. And no one   18   three-document subset 85 and 318 and 319.
 19   said anything to anybody except for Judy        19   What is 319?
 20   Yates. Judy Yates went to Erin Barefield and    20       A. 319 is a statement from Erin
 21   Elise Driskill and requested they do a          21   Barefield about the same text message
 22   statement and sign it. Other than that, they    22   conversation that I had with Elise Driskill
 23   didn't mention anything.                        23   and Judy Yates. Again, basically the

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  1       Q. How do you know that Judy Yates           1   statements between Elise Driskill and Erin
  2   went to Erin and Elise?                          2   Barefield are majorly the same, which is
  3       A. I have two statements that are            3   different from what Judy Yates verbalized to
  4   attached.                                        4   Michael McCurry and possibly, you know, Joe
  5       Q. So you're pointing to Bates 318           5   Roberts since it's listed to him and Danny
  6   and 319?                                         6   Carr in that memo.
  7       A. Yes.                                      7       Q. And I'm looking at Bates 318 and
  8       Q. Okay. So back on 85, Bates 85, is         8   319, the two statements. Do you have any idea
  9   there anything specifically false in there       9   what date those statements were written on?
 10   that we haven't talked about that we need to    10       A. I have no idea.
 11   talk about?                                     11       Q. Is Elise and Erin's version, is
 12       A. No, we've touched on everything in       12   that truthful and accurate, to your knowledge?
 13   there.                                          13       A. It's truthful to my knowledge
 14       Q. Okay. Let's look at Bates 318            14   about what I said. Even though the incident
 15   which is one of the statements you've           15   didn't occur, it's accurate in what I said.
 16   identified. Tell me about that document.        16       Q. And you did have an opportunity to
 17       A. On here, this is Elise Driskill's        17   discuss this incident that is made the basis
 18   statement. She said that I texted her and       18   of Bates 85 with some people in your chain of
 19   Erin about the court date that I had as far     19   command; right?
 20   as -- in Judge Stephens's courtroom. I stated   20       A. Yes.
 21   to them that certain things happened within     21       Q. We just looked at a number of
 22   the court date -- I mean -- sorry, the court    22   memos to file; do you recall that?
 23   appearance. And again I informed -- I           23       A. Yes.


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  1       Q. Did you have an opportunity to             1   actually.
  2   discuss any of the issues raised, whether they    2        A. Okay.
  3   were true or not, in the memos to file that we    3        Q. It looks like an e-mail from --
  4   just looked at?                                   4   I'm going to lead -- from Michael McCurry
  5       A. No, I did not.                             5   to --
  6       Q. So no one in your chain of command         6        A. Danny Carr.
  7   ever talked to you about any of those issues      7        Q. And Joe Roberts --
  8   and the memos to the file that we just looked     8        A. Okay.
  9   at?                                               9        Q. -- is that right?
 10       A. No one talked to me about                 10        A. Okay. Yes. So it's from Michael
 11   attending any training sessions, it was a        11   McCurry sent September 19 to Danny Carr and
 12   problem that I did not attend any training       12   Joe Roberts. Subject is LaNitra Jeter and
 13   sessions. I was not told that it was             13   importance was put as high. And this is the
 14   mandatory that I attend any training sessions.   14   same situation I'm talking about in the
 15   I was not asked why I had to leave the           15   previous document that we just discussed.
 16   building. I was not asked if there was           16   It's the same -- it's part of that particular
 17   anything -- a problem why I needed to leave      17   situation.
 18   the building. Nobody asked me why or where I     18        Q. Okay. So is there anything false
 19   was when they were looking for me throughout     19   on 1111 that we haven't already discussed?
 20   the building when I was in actually in May's     20        A. It's the same falseness that were
 21   chambers and they said I wasn't there, but I     21   in the previous documents.
 22   was. Nobody asked me why I did not want to       22        Q. And 1112 is part of 1111. Same
 23   drive to Nashville and attend those different    23   question, anything false in there that we

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  1   trainings. And the response where she said I      1   haven't already discussed?
  2   wasn't interested in going is not correct.        2       A. It's just part -- same thing
  3       Q. Okay. And for the record, you've           3   that's false in the other documents.
  4   been flipping through Plaintiff's Exhibit 1,      4       Q. Let's go off the record real
  5   Bates 71, Bates 67, Bates 66, Bates 57, Bates     5   quick.
  6   74, Bates 338 as you just gave that prior         6           (Off-the-record discussion.)
  7   testimony; correct?                               7       Q. (BY MR. NOBLE:) Okay. So we're
  8       A. Correct.                                   8   now looking at Bates 82. Would you tell me
  9       Q. And so I'm just going to ask               9   what that is, please, ma'am?
 10   again, those memos to file, were you given an    10       A. Okay. This is another memo to my
 11   opportunity to correct any of those issues       11   employee file from Judy Yates, dated September
 12   whether they were true or not?                   12   20th, 2019, and this is regarding VSO DV
 13       A. No, I was not given the                   13   training.
 14   opportunity.                                     14       Q. Okay. If you would, please,
 15       Q. Okay. Still on Plaintiff's                15   ma'am, read the information there on Bates 82
 16   Exhibit 1, let's move to Bates 1111. Take a      16   and let us know what, if anything, there is
 17   look at that, Ms. Jeter, and let me know what    17   false.
 18   that document is.                                18       A. Okay. (Reviewing document.)
 19       A. This is a -- it looks like an             19   Again, same partly true, partly false.
 20   e-mail from Joe Roberts to Michael McCurry.      20       Q. Could you explain for us, please?
 21          MR. MURRILL: No.                          21       A. Okay. In this particular memo, it
 22       A. No?                                       22   says that I only worked with property crimes.
 23       Q. (BY MR. NOBLE:) And skip down             23   That's not true. I also worked with DV cases.


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  1   All of the VSO officers worked with DV cases      1   she would be discussing -- no. Wait. I asked
  2   because sometimes an officer may be out. Like     2   her about what about next week, because I was
  3   Erin has been out and I've had to actually go     3   trying to figure out if this was something
  4   and handle the case and handle victims, talk      4   that was going to be permanent or not, and she
  5   to the attorney and do an informal intake and     5   said that we would discuss that before the end
  6   give my opinion on should the charges be          6   of the week.
  7   dropped or should the charges stay, depending     7       Q. And you say whether this is going
  8   on whether the defendant had prior charges or     8   to be permanent or not, you're talking about
  9   anything like that.                               9   restrictions on comp time?
 10           So in this particular one, she           10       A. Correct. Yes.
 11   says that I only worked property crimes and      11       Q. And I recall you giving testimony
 12   that's not true. And if I'm part of the          12   today in response to questions about -- before
 13   ones -- if I'm part of the office and I do DV    13   your comp time was reinstated in November of
 14   training just like the other VSOs do DV          14   2019, et cetera; do you recall that?
 15   training, I needed to be in that domestic        15       A. Yes.
 16   violence training. Now, this is the one that     16       Q. Did you ever have unconventional
 17   I needed to be in instead of the ones that she   17   comp time while you worked for the DA's
 18   offered to me to go to. That didn't have         18   office?
 19   anything to do with the VSO and what I do in     19       A. I don't understand the question.
 20   my job.                                          20   What do you mean?
 21       Q. Is there anything else false about        21       Q. So did you ever have comp time
 22   82?                                              22   available to you in the same way it was
 23       A. No.                                       23   available to the white VSOs while you worked

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  1        Q. Moving to Bates 80, could you             1   at the DA's office?
  2   please look at that document and tell me what     2        A. Yes.
  3   it is?                                            3        Q. When was that?
  4        A. This is a memo to my employee file        4        A. Possibly about the second to third
  5   from Judy Yates, dated September 23rd, 2019,      5   week after I started when I officially was
  6   and the reference to LaNitra Jeter.               6   informed that we could accrue comp time,
  7        Q. Okay. Read over Bates 80. Read            7   because at first I did not know. Nobody told
  8   that information, if you will, please, ma'am      8   me. All the other VSO officers were accruing
  9   and tell us if anything on Bates 80 is false.     9   comp time. I was the only one that was not
 10        A. (Reviewing document.) It's partly        10   because nobody told me.
 11   true again and partly false.                     11           Now, once I was able to accrue
 12        Q. Could you please explain?                12   comp time, I accrued comp time the same way
 13        A. In here she states that I wanted         13   that they did. You could come in at 7:00 and
 14   to know -- she says I wanted to know what I      14   leave at 4:30. You could work through your
 15   was supposed to do during my lunch. And she      15   hour-and-a-half lunch, no problem.
 16   stated that I should sit at my desk like most    16        Q. Did that end for you at some
 17   people if I wanted to. That's not the only       17   point?
 18   thing I asked her. I also asked her why was      18        A. Yes.
 19   my comp time being taken away and why do I       19        Q. And when was that again?
 20   have to come in at 7:30 and 4:30 and everybody   20        A. The 23rd of September, 2019.
 21   else can come in at 7:00 and accrue comp time    21        Q. For the remainder of your
 22   and I could not.                                 22   employment with the DA, did it ever go back
 23           And then in here she did put that        23   like it was in the beginning where you just


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  1   could take comp time equal to any VSO officer?    1   problems and I won't be having any comp time
  2        A. No.                                       2   to accrue to make my doctors' appointments.
  3        Q. All right. Let's look -- is there         3          On the meeting for Wednesday,
  4   anything on Bates 80 that's false that we         4   September 25th, 2019, which consisted of
  5   haven't talked about?                             5   Michael McCurry and Judy Yates, in this
  6        A. No.                                       6   particular meeting, we went into depth of why
  7        Q. All right. Let's look now at              7   about the comp time and the incident that
  8   Bates 78, which is a two-part part. It has 79     8   occurred within those two witness statements
  9   after that. So would you please look over         9   from Erin and Elise.
 10   that document and let us know what it is?        10          In this particular section of it,
 11        A. This is actually in reference to         11   she states that I stated that I said those
 12   the previous kind of memo. I guess it's going    12   things to relieve stress because of the things
 13   to be a memo itself to Danny Carr and Joe        13   going on in my life and that I thought working
 14   Roberts from Judy Yates. Again, LaNitra Jeter    14   here would help me get justice in all my cases
 15   is the subject, and they cc'd Mike McCurry.      15   involving I guess me and myself, and that's
 16   This is Judy Yates stating how she took away     16   not true. I made sure I kept myself as far
 17   my comp time on September the 23rd.              17   distanced from my husband's cases. The only
 18        Q. And this memo, Bates 78, does it         18   case I was involved in was the case that
 19   have a date on it?                               19   pertained to me. I talked to my attorney that
 20        A. It's dated September 30th, 2019.         20   was appointed to me, which is Carol Boone, in
 21        Q. Go ahead. I'm sorry, I didn't            21   reference to my case. I never looked at my
 22   mean to interrupt.                               22   husband's cases. I never read up on his
 23        A. Okay. (Reviewing document.)              23   cases. I don't even know the narrative of his

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  1   Okay. Again partly true, partly false. So in      1   case. I couldn't even tell you his case
  2   this memo, this is actually a two-part memo.      2   number.
  3   In this memo, she is referencing -- I'm sorry,    3           If you go to the system and put in
  4   Monday, September the 23rd, 2019, where she       4   my number, it will show you that I never
  5   took away comp time. And again I asked her,       5   pulled up any of his cases, because you can
  6   you know, why it's being taken away from me       6   tell by the employee number who looks at what,
  7   and I'm the only person it's being taken away     7   and so that's not true. I never thought I
  8   from. And everybody else that's in the office     8   could use my job or my job title to get
  9   is being able to accrue their comp time and       9   justice in a case. I thought that justice
 10   not have it taken away.                          10   came from the system that was supposed to work
 11           And that's when she said that, you       11   that was in place anyway.
 12   know, we'll discuss it by the end of the week.   12           In here she also states that I
 13   Well, we ended up having a discussion on the     13   never apologized for anything that happened.
 14   second part on September the 25th, Wednesday,    14   I don't know if I did or did not, but in this
 15   2019. That meeting was with Judy Yates and       15   instance, I don't feel like there was nothing
 16   Michael McCurry.                                 16   for me to apologize, because like I said, all
 17           Also to go back, on the one on           17   of my information was being put out there as
 18   September 23rd, she also states in here that     18   if I was doing things that were against
 19   she told me that I would have to bring a         19   company policy and they were actually against
 20   doctor's excuse, you know, for that day. At      20   the law for me to do.
 21   this particular time, I didn't mention           21           Oh, in the memo it also stated
 22   anything about the doctor's excuse. I was        22   that Michael discussed with me the problem
 23   more concerned of the fact of my health          23   with my time, which --


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  1       Q. For the record, you're pointing to         1   DA, did you ever see Bates 78 or 79?
  2   Bates 79. Keep going.                             2       A. No, I did not.
  3       A. In the second part of the memo,            3       Q. Did you ever discuss your comp
  4   referring to Wednesday, September 25th of         4   time issues with Erin or Elise?
  5   2019, within the meeting with Michael McCurry     5       A. Yes, I did.
  6   and Judy Yates, Michael states in here that he    6       Q. Do you recall any of those
  7   went into detail as to why my comp time was       7   conversations?
  8   taken away. In there they're saying that I        8       A. One conversation I had was in my
  9   could not grasp the problem of how much time I    9   office. It was actually both with Erin and
 10   was taking. If it's time that I worked --        10   Elise. They came to come see how I was doing
 11   like I stated to them, if it's time that I       11   that day because a lot of stuff had been going
 12   worked for and it's time that I earned, it's     12   on and they could see for themselves it was
 13   my time. It's not a company policy to            13   going on. And like I said, they were calling
 14   determine how or when I use my comp time. And    14   to check on me. And the first thing I said
 15   also again you have other VSO officers that      15   was, it's not fair. I said, do they not
 16   are using comp time to get their hair done and   16   realize they're taking the comp time away from
 17   leave work early because they can't see.         17   the only African-American VSO officer and
 18           So if I'm trying to get to a             18   everybody else gets to accrue time? Do they
 19   doctor's appointment because I'm having          19   not realize that's discrimination? I said, if
 20   medical issues, how is that any less important   20   that's what they want to do, then that's what
 21   of a person who's leaving to go get their hair   21   they're going to do. I said, but what I'm
 22   done. And so that's when they disclosed that     22   going to do is just keep my mouth shut and
 23   it was people who had noticed me leaving. So,    23   just try to do what I need to do.

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  1   again, that goes to a point of people watching    1       Q. Did either of them respond to that
  2   me, reporting me and things like that. And,       2   statement?
  3   like I said, if you was watching everybody        3       A. They did.
  4   like you're supposed to watch all the VSO         4       Q. Do you --
  5   officers, you'll know you have the one VSO        5       A. Um --
  6   officer that's over there in the office during    6       Q. Go ahead. Sorry.
  7   VSO time studying for the LSAT that's now in      7       A. Erin was stating it was not fair.
  8   law school. And you've got the other one over     8   I don't want to curse, but --
  9   there that's leaving on days to go be with        9       Q. Go ahead.
 10   whoever she had to be with, but you're           10       A. She basically said it's not fair
 11   watching me.                                     11   about all this shit they were putting me
 12           And so at that particular point in       12   through in the office. She said, if there's
 13   time, I just got really upset. I cried. I        13   anything she can do to help me as far as, I
 14   think I -- at that particular point in time I    14   guess like moral support, she was there. She
 15   just zoned everybody out. I sat in there for     15   also said if I ever needed her to, you know,
 16   twenty minutes and I didn't say a word because   16   vouch for that, she would.
 17   I was tired, I was disgusted with the            17           Elise agreed with her about the
 18   situation, I was hurt. And after that            18   shit I was going through at work, but Elise
 19   particular point in time, I did go to my         19   did not say that she would back me on those
 20   office and sat for a while to try to get         20   things, because she said -- like she said
 21   myself together. And after that meeting, I       21   before, she's going to law school. She'll
 22   did self-harm myself again at work.              22   possibly need to work in the DA's office as an
 23       Q. While you were employed with the          23   attorney and she doesn't want to be retaliated


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  1   against or be having that held against her for    1   know, showed favoritism towards them and not
  2   helping me and -- from that office.               2   to me. So I can assume in that instance that
  3       Q. Elise said that?                           3   is what she was meaning about the
  4       A. Yes.                                       4   discrimination and retaliation.
  5       Q. Just so I understand, is it your           5       Q. Is it your testimony that Erin and
  6   testimony that Elise said she wouldn't support    6   Elise acknowledged that they were treated more
  7   you in a lawsuit?                                 7   favorably, is that what you're saying?
  8       A. Well, Elise said she has to be             8           MR. MURRILL: Object to the form.
  9   careful in what she can and cannot help me        9       Q. (BY MR. NOBLE:) You can answer.
 10   with because she studied for the LSAT. She's     10       A. Okay. Again, I'm assuming that
 11   going to, you know, be an attorney. And it's     11   because they -- again, she confirmed they saw
 12   a possibility she'll still be living here and    12   for a fact the shit that they put me through.
 13   she'll be working -- trying to get a job at      13       Q. And I'm sorry to interrupt. She,
 14   the DA's office and they possibly would not      14   who is she?
 15   hire her if she testified or supported me if I   15       A. I'm sorry. Erin and Elise.
 16   filed anything or went after the DA's office.    16       Q. So both of them, okay.
 17       Q. Did Elise mention the word                17       A. Okay.
 18   "retaliation" in her communication with you?     18       Q. Continue.
 19       A. I can't recall at the moment if           19       A. I can only assume that Erin and
 20   she did. I do recall though that she said        20   Elise did agree with that because of the
 21   that she has to be careful because when she      21   statements that Erin made referring to the
 22   goes to law school and completes law school      22   shit that Judy puts me through, and she
 23   and passes the bar, she will want to work at     23   specifically named Judy Yates. And Elise


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  1   the DA's office and they will possibly not        1   again kind of cosigned on that. But also in
  2   hire her.                                         2   her statement she said that she couldn't be a
  3        Q. Do you know if Elise went to law          3   part of anything as far as a lawsuit.
  4   school?                                           4        Q. Do you have any idea why you had
  5        A. She's currently in law school.            5   all those memos in your file?
  6        Q. Do you know where?                        6        A. I can give you an idea of what I
  7        A. I believe Cumberland.                     7   have.
  8        Q. Do you know if she's a first year,        8        Q. Based on your knowledge, do you
  9   second year or third year?                        9   have any idea?
 10        A. I don't know, only because right         10        A. Oh, my knowledge, no, I don't know
 11   after I was terminated, I think Elise left       11   why they put those things in my file.
 12   first, maybe a month after, and then Erin left   12        Q. Are you familiar with the policy
 13   right after that. Now, in our discussions in     13   at the DA's office regarding memos to file?
 14   my office, they did say if I ever left, that     14        A. Yes. If I'm familiar -- what I
 15   they're leaving, too.                            15   know is if there is an issue with an employee,
 16        Q. Did Erin or Elise ever express an        16   there should be a discussion with the employee
 17   opinion to you about race discrimination at      17   referring to that incident. The response
 18   the DA's office?                                 18   should be given to the chain of command. The
 19        A. I can only say I assume that to be       19   chain of command should then make a decision
 20   as part of the retaliation based on the          20   on, I guess, the discipline or the outcome of
 21   statement Erin made about the shit that          21   that employee. Each employee should be aware
 22   they're putting me through and the way that      22   of any incident that they're being mentioned
 23   they're treating me. The way that they, you      23   in or being accused of or any accusation.


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  1       Q. That was DA policy based on your           1       A. Yes.
  2   knowledge; is that right?                         2       Q. Could you tell me those policies
  3       A. Correct, that is -- yes.                   3   as specifically as you know them based on your
  4       Q. And you said that employee issues          4   personal knowledge?
  5   go up the chain of command; did I hear that       5       A. Okay. Well, based on my personal
  6   right?                                            6   knowledge, like I said, I never saw them in
  7       A. Yes.                                       7   writing. I just assumed as with any
  8       Q. How far up the chain of command do         8   employment it would be verbal -- well, yeah,
  9   they go, if you know?                             9   verbal warning, written. Some businesses do
 10       A. From my knowledge, it should be to        10   suspension. Some businesses do -- depending
 11   your supervisor. And in -- I guess, the admin    11   on how many written and verbals you get.
 12   or HR, which is going to be Michael McCurry.     12   Everything should go through the chain of
 13   Then next would be Joe Roberts. And then         13   command. An employee is to be aware of a
 14   final would be Danny Carr.                       14   report. The employee is supposed to be given
 15       Q. So if I understand correctly, help        15   the opportunity to say yes or no if those
 16   me understand it, is it your testimony that it   16   things are accurate or correct or false in
 17   was the policy at the DA's office that these     17   that report. If the employee agrees, they
 18   memos to file should have gone all the way up    18   normally get a signature from the employee
 19   as high as to Danny Carr?                        19   either agreeing with what the discipline
 20       A. Yes.                                      20   determination is going to be. That's --
 21       Q. And if they did not, that would be        21   that's basically, you know, what I would think
 22   a deviation from policy, is that what you're     22   the policy would be.
 23   saying?                                          23       Q. Sure. So, and you're saying you

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  1       A. Yes.                                       1   assume. So am I correct in understanding that
  2       Q. Do you know if the DA had                  2   it's your testimony that you don't know what
  3   employment policies governing things like race    3   the policy was regarding employee discipline?
  4   discrimination and retaliation?                   4        A. Correct. Yes.
  5       A. Yes, I believe so, yes, in policy.         5        Q. Did you see employees disciplined
  6       Q. Were you ever given those                  6   at all while you were employed at the DA's
  7   policies?                                         7   office?
  8       A. I was not given those policies,            8        A. Not -- not myself, no.
  9   no.                                               9        Q. Okay. Did you hear about
 10       Q. Were you ever trained on those            10   employees being disciplined while you were at
 11   policies?                                        11   the DA's office?
 12       A. No, I was never trained on those          12        A. Not that I can recall at this
 13   policies.                                        13   present moment, no.
 14       Q. Sitting here today, do you have           14        Q. Do you know of any employees being
 15   any idea what those policies even were?          15   written up while you worked for the DA's
 16       A. No.                                       16   office?
 17       Q. You mentioned just a minute ago           17        A. Not at this moment, no.
 18   various steps in employee discipline; did I      18        Q. Okay. Were you ever given a
 19   hear that right?                                 19   verbal warning about anything during your
 20       A. Yes.                                      20   employment?
 21       Q. Okay. So the DA's office did have         21        A. No.
 22   policies regarding how employees should be       22        Q. Were you ever given a write-up
 23   disciplined?                                     23   during your employment?


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  1       A. No.                                        1       Q. And remind us what that was.
  2       Q. Were you ever given a performance          2       A. They gave me a rule of law and
  3   improvement plan?                                 3   said that it was -- and that the district
  4       A. No.                                        4   attorney's office is able to hire as a
  5       Q. Were you ever given a final                5   pleasure and it's no longer their pleasure
  6   warning?                                          6   that I be an employee of that office. And
  7       A. No.                                        7   effective immediately I am terminated. I am
  8       Q. Were you ever coached in any way?          8   to turn in my badge and any other equipment
  9       A. No.                                        9   that I have. Turn it in. I will be able to
 10       Q. Was there any investigation at all        10   get in contact with Sam Johnson to set up a
 11   to your knowledge about your claims of race      11   time to get my other belongings. I was given
 12   discrimination?                                  12   maybe a couple of minutes to get my purse and
 13       A. No.                                       13   get other things like my satchel and stuff
 14       Q. On the day that you were fired,           14   like that. All my other things, my personal
 15   did you have any reason to believe that your     15   belongings, paperwork that was in my desk that
 16   job was in jeopardy?                             16   was my own personal stuff I was not able to
 17       A. Absolutely not.                           17   get and it was never returned to me.
 18       Q. How did it feel when you were             18           I still have items that are mine
 19   fired?                                           19   that have not been returned to me by the DA's
 20       A. It was a bunch of different               20   office even after I've let them know that they
 21   emotions. Shock was one, because like I said,    21   didn't give me all of my belongings.
 22   didn't know anything about it. Hurt,             22       Q. Did you make efforts to appeal
 23   humiliated because that was my first time ever   23   your termination?

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  1   being terminated in my life. Even more            1        A. I did. I contacted -- I believe
  2   humiliated when I was escorted out of the         2   it was Tamara, I believe it's Tamara at -- in
  3   building by two armed sheriff officers. And       3   Montgomery at the -- I think it's called OPS
  4   then as I was let out of the gate and I walked    4   office. I informed her of what just happened.
  5   across the street, I got madder and madder.       5   I said, I was not given any explanation. I
  6   And finally when I got to my vehicle, I was       6   asked her if there is a policy in place for a
  7   angry.                                            7   grievance or anything like that, and Tamara
  8       Q. Before this litigation, do you             8   did not e-mail me back. An attorney for the
  9   have any idea why the DA's office fired you?      9   office e-mailed me back and said basically it
 10       A. No.                                       10   is at the discretion of the DA's office to
 11       Q. Did you ask?                              11   hire whoever they want to hire. If they have
 12       A. In this moment I really can't             12   terminated me, then that's the termination.
 13   remember. I believe I asked why when Joe         13   There is no grievance. There is no appeal.
 14   Roberts handed me the letter, and he didn't      14   There's no -- there's no nothing for me to do.
 15   even tell me what it was. He just handed it      15        Q. Did you have a hard time getting a
 16   to me and I opened it and I read it and I was    16   lawyer?
 17   shocked. And then, you know, he was like turn    17        A. It was past hard. It was
 18   in all of your stuff, grab your things and get   18   extremely difficult for me to find an
 19   in contact with Sam Johnson when -- and set up   19   attorney.
 20   a time to get your other belongings.             20        Q. Do you have an opinion as to why
 21           So I can't really say if I did. I        21   that is?
 22   just know the explanation that was given in      22        A. I have the exact fact. Every time
 23   the letter of my termination.                    23   I would do the intake -- you know, you do the


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  1   intake online, you tell them everything, tell     1       A. Yes, they did.
  2   them what the case is about and they tell you     2       Q. What happened?
  3   to list the defendant. And I would get a call     3       A. You got your car towed yesterday.
  4   back from the attorney that says either it is     4       Q. Do you know about when?
  5   a conflict of interest because they either        5       A. I don't know exactly when. I just
  6   have cases that they have to try in that          6   know it got towed. You was only in the office
  7   office. They have either cases now or future      7   maybe, what, five, ten minutes and came back
  8   cases they could have in that office. And the     8   and your car was gone.
  9   main reason was that they didn't take the         9          MR. NOBLE: Let the record reflect
 10   cases is because they did not want to be         10   we're smiling.
 11   retaliated against by the DA's office.           11       Q. (BY MR. NOBLE:) Let's talk about
 12        Q. Did you ever get any examples of         12   your -- you were asked some questions about
 13   what retaliation might look like?                13   your bankruptcy.
 14        A. Retaliation could be -- could            14          MR. RILEY: Was that true or not?
 15   happen to me. It could happen to my family.      15          MR. NOBLE: It's true.
 16   It could happen to the attorney, which could     16          MR. RILEY: Okay.
 17   be you get tickets on your car, you get your     17          MR. MURRILL: Where were you?
 18   car towed. You get pulled over for no            18   Where was your car?
 19   apparent reason, because, you know, once you     19          MR. NOBLE: We can talk about it
 20   run your tag, my tag is going to come back       20   when I'm a witness.
 21   under my name. That's one reason I told my       21          MR. RILEY: Well, y'all brought it
 22   son, he has my other vehicle and that's          22   up. I'm just curious. Oh, I'm sure this is a
 23   registered in my name. I told him do not come    23   story that was like another fabrication.

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  1   back to the State of Alabama unless it is         1           MR. NOBLE: No, no, it's true. I
  2   absolutely necessary. He lives in Georgia. I      2   have no evidence linking anything. It's just
  3   said, do not come here because I don't want       3   ironic or coincidence, I'm sure. And let the
  4   anything to happen to you.                        4   record reflect I'm smiling.
  5            Again, like I said, you can get          5        Q. (BY MR. NOBLE:) You were asked
  6   false police reports put on you. You can have     6   some questions about your bankruptcy; is that
  7   police officers pull you over for no apparent     7   right?
  8   reason. You can get harassed and hassled by       8        A. Yes.
  9   the police. It's just a -- it's a -- it's a       9        Q. Is the bankruptcy court aware of
 10   list of things that could possibly happen.       10   this lawsuit?
 11        Q. And are you -- is it your                11        A. Yes.
 12   testimony that attorneys told you various        12        Q. Is your bankruptcy attorney aware
 13   worst case scenarios that might happen to them   13   of this lawsuit?
 14   and these are some examples?                     14        A. Yes.
 15        A. Yes, that's correct.                     15        Q. Where are you in the bankruptcy
 16        Q. And among those examples were like       16   process?
 17   parking tickets?                                 17        A. At the end stage. I'm actually
 18        A. Yes.                                     18   going to be making my last payment probably
 19        Q. And you did find an attorney?            19   within maybe the next two months depending.
 20        A. I did.                                   20   It's going to be paid off early.
 21        Q. Okay. Did any of the items that          21        Q. Let's look real quick at
 22   you just named come to fruition, to your         22   Defendant's Exhibit 1, which are your
 23   knowledge?                                       23   interrogatory responses. I'm going to show


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  1   them to you real quick before we wrap up. You     1       A. No.
  2   were asked about the very last page; do you       2       Q. The third bullet says, repeatedly
  3   see that, on Defendant's Exhibit 1?               3   has told stories that turned out to be --
  4        A. Yes.                                      4   turned out to untrue, so there's a typo there,
  5        Q. And that's your signature; is that        5   so loss of credibility and being trustworthy.
  6   right?                                            6   Based on your knowledge, is that true?
  7        A. Yes.                                      7       A. No.
  8        Q. And what's the date there?                8       Q. The next bullet point says, has
  9        A. November 24th, 2021.                      9   posted on social media stories that were
 10        Q. And as of that date, I believe           10   untrue just for the shock value. Is that
 11   it's your testimony that you had reviewed your   11   true?
 12   answers; correct?                                12       A. No.
 13        A. Yes.                                     13       Q. Do you have any idea what that is
 14        Q. Had you reviewed the objections at       14   referring to?
 15   that point?                                      15       A. I have no idea only because I
 16        A. No.                                      16   don't know which social media they're talking
 17        Q. Okay. Let's turn to Bates 55.            17   about. I have absolutely no idea. And also I
 18   And this is back to Plaintiff's Exhibit 1, the   18   am friends with Erin Barefield and Elise
 19   very last document. And take a look at that      19   Driskill, who are VSO officers, and they -- we
 20   and tell us what it is.                          20   basically kind of post the same thing on our
 21        A. Okay. This is a memo to Joe              21   social media. So I'm trying to figure out if
 22   Roberts from Judy Yates, dated March 13th,       22   you saw my social media, did you see theirs
 23   2020, referencing LaNitra Jeter.                 23   and do they have the same thing in their

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  1        Q. Okay. And I'm going to read here,         1   employee files?
  2   it says, as requested below is a condensed        2        Q. Did anyone ever talk to you about
  3   list of issues that have come up since LaNitra    3   your social media while you worked at the DA's
  4   Jeter began her employment here April 16th,       4   office?
  5   2019. Did I read that right?                      5        A. No.
  6        A. Yes.                                      6        Q. Were you friends with anyone in
  7        Q. Okay. What I'd like to do now is          7   your chain of command on social media?
  8   I'm going to go through each of these             8        A. No.
  9   bullets -- bullet points here, and I'm going      9        Q. Are you aware of a social media
 10   to ask you if this is true or false; okay?       10   account that was used by the DA's office to
 11        A. Okay.                                    11   check out other profiles?
 12        Q. The first bullet point says, abuse       12        A. I'm not sure.
 13   of earning time and taking time away from        13        Q. Okay. All right. So I'm going to
 14   work. She is more interested in being away       14   move to the next bullet point on Bates 55, has
 15   from work than being present and contributing    15   used office time to deal with issues that are
 16   to the office. Is that true?                     16   her husband's or her adult son's legal issues.
 17        A. No.                                      17   Is that true?
 18        Q. Is any part of that true?                18        A. No.
 19        A. No.                                      19        Q. Is there any part of that that is
 20        Q. The second bullet says, failure to       20   true?
 21   follow chain of command. Is that true?           21        A. No.
 22        A. No.                                      22        Q. The next bullet point says,
 23        Q. Is any part of that true?                23   repeatedly talks about filing judicial


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  1   complaints against various judges her husband     1   referring to?
  2   has to deal with. Is that true?                   2        A. Possibly that memo that was in
  3       A. No.                                        3   there where Cheryl Black and Judy Yates was
  4       Q. Is any part of that true?                  4   combing the office looking for me, and I was
  5       A. No.                                        5   actually signed out to Judge May's office and
  6       Q. The next bullet says, has been             6   I was actually in Judge May's chambers.
  7   repeatedly counseled about the constant abuse     7        Q. The next bullet says, has no
  8   of her time, ex. I'm assuming that means          8   credibility with her coworkers and is
  9   example. Asking to come in early, to leave        9   compromising the grant report we submit to
 10   early, leaving early, has rarely worked an       10   OPS. Based on your knowledge, is that true?
 11   entire five-day workweek. Is that true?          11        A. No.
 12       A. No.                                       12        Q. Do you have any idea what that's
 13       Q. Is there anything in that bullet          13   referring to?
 14   point we just read that's true?                  14        A. I do not. The only thing I can
 15       A. No.                                       15   tell you is, I actually have a lot of
 16       Q. It says you were repeatedly               16   credibility with my coworkers, which is -- and
 17   counseled, doesn't it?                           17   I consider my coworkers to be Erin Barefield
 18       A. Yes.                                      18   and Elise Driskill. And they communicated
 19       Q. Is that true?                             19   with me often during work, after work, even
 20       A. No.                                       20   after they left the DA's office.
 21       Q. Were you counseled even once?             21           Now, the only issue was when I was
 22       A. No.                                       22   let go and terminated from there, they were
 23       Q. The next bullet point says, has           23   told that they could not contact me in any

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  1   fallen asleep while observing a trial. Do you     1   shape, form or fashion. They only reached out
  2   know -- well, is that true?                       2   to me after they left the DA's office and they
  3       A. No.                                        3   told me that they were told that they could
  4       Q. Do you know anything about that            4   not contact me.
  5   bullet point?                                     5       Q. Did they tell you anything else
  6       A. No. Because if the judge saw you           6   when they reached out to you at that time?
  7   sleeping in his courtroom, he's going to          7       A. They said I -- Judy -- the stuff
  8   actually put you out.                             8   that Judy did was unfair. She put me through
  9       Q. Or she?                                    9   a lot of stuff. They felt bad for me. They
 10       A. Or she. Sorry.                            10   missed me. When I left, everything was just
 11       Q. Leaves the building without               11   not the same. That's why they put in their
 12   signing -- I'm reading the next bullet point     12   notices and left as well.
 13   on 55, leaves the building without signing out   13       Q. Have you ever seen any document
 14   or letting someone know she will be              14   that would indicate to you that your coworkers
 15   unavailable. Is that true?                       15   distrusted you?
 16       A. No.                                       16       A. No.
 17       Q. Is that partially true?                   17       Q. Final bullet point, during a
 18       A. No.                                       18   meeting with the YWCA advocate director, she
 19       Q. The next bullet point, signs out          19   asked questions about her husband's case where
 20   to a court that is empty and cannot be found.    20   he is a defendant of a PFA and how to get the
 21   Is that true?                                    21   judge to allow them to speak and let her know
 22       A. No.                                       22   the PFA was vindictive. Is that true?
 23       Q. Do you have any idea what that is         23       A. No.


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  1        Q. Is there any part of that that's          1   REEXAMINATION BY MR. MURRILL:
  2   true at all?                                      2       Q. Okay. Ms. Jeter, just a few. You
  3        A. No.                                       3   had mentioned having surgery on your ankle.
  4        Q. Did you ask any questions of a            4   Who performed that surgery?
  5   YWCA advocate director?                           5       A. That was Dr. Ashish Shah.
  6        A. I did ask questions during that           6       Q. How do you spell Shah?
  7   meeting and also other VSOs asked questions.      7       A. S-h-a-h.
  8   We were getting information on how PFAs           8       Q. Where is Dr. Shah?
  9   worked. And she stated that one known fact        9       A. UAB Highlands.
 10   is -- one unknown fact is when you have a PFA,   10       Q. You had testified about the DA
 11   the person who is the -- I guess, the PFA is     11   policy regarding memos to file; do you recall
 12   against, they're supposed to surrender all       12   that testimony?
 13   firearms. And as a DV worker, case worker, I     13       A. Yes.
 14   did not know that. Even Erin said she was not    14       Q. Did you ever see that policy in
 15   aware of that.                                   15   writing?
 16           And so that was like, well, that's       16       A. No, I did not.
 17   something that we need to make sure we're        17       Q. Go to Plaintiff's Exhibit 1 and
 18   putting in effect and how do we do that? Do      18   page -- Bates label page 78, which is the memo
 19   we contact the police officers? Do we contact    19   of September the 30th, 2019, from Judy Yates
 20   the attorney to make sure they are turning in    20   to Danny Carr and Joe Roberts. You had
 21   the firearms? What do we do? And so she said     21   testified about the story that you had put out
 22   basically it's required, but there's no way to   22   as an attempt to try to figure out which
 23   actually enforce it.                             23   information was leaking out of the DA's

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  1        Q. And this memo is -- has a date on         1   office; do you recall that testimony?
  2   it; correct?                                      2       A. Yes.
  3        A. Yes.                                      3       Q. And the story involved a mediation
  4        Q. Do you know if that's before or           4   where you were called a name and then had a
  5   after you were fired?                             5   physical altercation with Ms. Murrell;
  6        A. That was before.                          6   correct?
  7        Q. And it is written by who?                 7       A. Yes.
  8        A. Judy Yates.                               8       Q. Okay. In the second paragraph of
  9        Q. And to who?                               9   the memo, Bates labeled DA 78, midway through
 10        A. Joe Roberts.                             10   that paragraph Judy wrote, she started to tell
 11        Q. Okay. And based on what we've            11   the story, then she said she wasn't there for
 12   just discussed, is it your testimony that this   12   a mediation because they would not let her be
 13   is -- everything here in Bates 55 is patently    13   involved. Did you tell Judy that?
 14   false?                                           14       A. No, I don't recall telling her
 15        A. Yes.                                     15   that.
 16        Q. Okay.                                    16       Q. Okay. Judy goes on to write, she
 17           MR. NOBLE: I have no questions as        17   said she left and went to see her attorney in
 18   of right now.                                    18   Bessemer. Did you tell Judy that?
 19           MR. RILEY: Let's take a break for        19       A. Hold on. I'm trying to read the
 20   a second.                                        20   whole thing. Hold on. I'm sorry. (Reviewing
 21           MR. NOBLE: Sure.                         21   document.) No, I didn't tell Judy Yates that.
 22           (Whereupon, a short break was            22       Q. Judy goes on to write, she said
 23            taken.)                                 23   the incident took place at a private location.


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  1   Did you tell Judy that?                           1          CERTIFICATE
  2       A. No.                                        2
  3       Q. When asked where, she finally said         3   STATE OF ALABAMA)
  4   it was just a joke, said she had put it on        4   COUNTY OF SHELBY)
  5   Facebook and social media, that she likes to      5      I hereby certify that the above
  6   joke about things and that everyone knew that.    6   proceedings were taken down by me and
  7   Did you tell Judy that?                           7   transcribed by me using computer-aided
  8       A. No, not in those words, no.                8   transcription and that the above is a true and
  9       Q. Okay. Did you tell Judy anything           9   correct transcript of said proceedings taken
 10   about putting the story on Facebook or social    10   down by me and transcribed by me.
 11   media?                                           11      I further certify that I am neither of
 12       A. No.                                       12   kin nor of counsel to any of the parties nor
 13       Q. Did you put the story on Facebook         13   in anywise financially interested in the
 14   or social media?                                 14   outcome of this case.
 15       A. No.                                       15      I further certify that I am duly licensed
 16           MR. MURRILL: Okay. Nothing               16   by the Alabama Board of Court Reporting as a
 17   further.                                         17   Certified Court Reporter as evidenced by the
 18        FURTHER THE DEPONENT SAITH NOT              18   ACCR number following my name found below.
 19                                                    19      /s/Maya Rose
 20                                                    20      Maya Rose, ACCR#242
 21                                                    21      Expires 9/30/22
 22                                                    22      State of Alabama at Large
 23                                                    23      Commission Expires 1/15/25


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  1           DEPONENT'S CERTIFICATE
  2
  3
  4     I, LANITRA JETER, the witness herein,
  5   have read the transcript of my testimony and
  6   the same is true and correct, to the best of
  7   my knowledge. Any corrections and/or
  8   additions, if any, are listed separately.
  9
 10
 11
 12             LANITRA JETER
 13
 14
 15     Sworn to and subscribed before me, this
 16   the day of , 2022, to certify which
 17   witness my hand and seal of office.
 18
 19
 20
 21
 22          NOTARY PUBLIC IN AND FOR
 23          THE STATE OF ALABAMA


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